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   18
                              UNITED STATES DISTRICT COURT
   19
                           CENTRAL DISTRICT OF CALIFORNIA
   20
                                                   CASE NO. 2:20-cv-10914-CAS-JEM
   21 EDWARD ASNER, MICHAEL BELL,
        RAYMOND HARRY JOHNSON,                     FIRST AMENDED CLASS ACTION
   22 SONDRA JAMES WEIL, DAVID
                                                   COMPLAINT FOR RELIEF FOR:
   23
        JOLLIFFE, ROBERT CLOTWORTHY,
        THOMAS COOK, AUDREY LOGGIA,                  (1) BREACH OF FIDUCIARY
   24   DEBORAH WHITE, DONNA LYNN                        DUTY IN VIOLATION OF
        LEAVY, individually on behalf of                 ERISA
   25   themselves and the other similarly           (2) BREACH OF FIDUCIARY
        situated members of the Counts I and III         DUTY IN VIOLATION OF
   26   Class and the Counts II and IV Class as          ERISA
   27   defined herein,

   28


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    1 Plaintiffs,                                 (3) BREACH OF FIDUCIARY
                                                      DUTY BY A CO-FIDUCIARY
    2 v.                                              IN VIOLATION OF ERISA
    3 THE SAG-AFTRA HEALTH FUND;                  (4) BREACH OF FIDUCIARY
                                                      DUTY BY A CO-FIDUCIARY
    4 THE BOARD OF TRUSTEES OF THE                    IN VIOLATION OF ERISA
        SCREEN ACTORS GUILD-
    5 PRODUCERS HEALTH PLAN; THE                DEMAND FOR JURY TRIAL
        BOARD OF TRUSTEES OF THE SAG-
    6   AFTRA HEALTH FUND; DARYL
    7
        ANDERSON; HELAYNE ANTLER;
        AMY AQUINO; TIMOTHY BLAKE;
    8   JIM BRACCHITTA; ANN CALFAS;
        JOHN CARTER BROWN; DUNCAN
    9   CRABTREE-IRELAND; ERYN M.
        DOHERTY; GARY M. ELLIOTT;
   10   MANDY FABIAN; LEIGH FRENCH;
   11   BARRY GORDON; J. KEITH
        GORHAM; NICOLE GUSTAFSON;
   12   JAMES HARRINGTON; DAVID
        HARTLEY-MARGOLIN; HARRY
   13   ISAACS; MARLA JOHNSON;
   14
        ROBERT W. JOHNSON; BOB
        KALIBAN; SHELDON KASDAN;
   15   MATTHEW KIMBROUGH; LYNNE
        LAMBERT; SHELLEY LANDGRAF;
   16   ALLAN LINDERMAN; CAROL A.
        LOMBARDINI; STACY K. MARCUS;
   17   RICHARD MASUR; JOHN T.
   18   MCGUIRE; DIANE P. MIROWSKI;
        D.W. MOFFETT; PAUL MURATORE;
   19   TRACY OWEN; MICHAEL
        PNIEWSKI; ALAN H. RAPHAEL;
   20   JOHN E. RHONE; RAY RODRIGUEZ;
   21
        MARC SANDMAN; SHELBY SCOTT;
        DAVID SILBERMAN; SALLY
   22   STEVENS; JOHN H. SUCKE; KIM
        SYKES; GABRIELA TEISSIER; LARA
   23   UNGER; NED VAUGHN; DAVID
        WEISSMAN; RUSSELL WETANSON;
   24   DAVID P. WHITE; SAMUEL P.
   25   WOLFSON

   26 Defendants.

   27

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    1                    FIRST AMENDED CLASS ACTION COMPLAINT
    2         1.        Plaintiffs, Edward Asner, Michael Bell, Raymond Harry Johnson,
    3 Sondra James Weil, David Jolliffe, Robert Clotworthy, Thomas Cook, Audrey

    4 Loggia, Deborah White, Donna Lynn Leavy (“Plaintiffs”), by and through their

    5 attorneys, bring this action, under the Employee Retirement Income Security Act 29

    6 U.S.C. §§ 1001-1461 (“ERISA”), asserting Counts I and III on behalf of themselves

    7 and the other participants of the former Screen Actors Guild-Producers Health Plan

    8 (“SAG Health Plan”) at the time of the merger of the SAG Health Plan with the

    9 AFTRA Health Fund (“AFTRA Health Plan”), effective January 1, 2017 (“Health

   10 Plans Merger”). Plaintiffs also bring this action under ERISA asserting Counts II

   11 and IV on behalf of themselves and other participants of the resulting, merged health

   12 plan, the SAG-AFTRA Health Fund (“SAG-AFTRA Health Plan”).

   13
            I.        NATURE OF ACTION
   14
              2.        This action asserts claims under ERISA for breaches of fiduciary duty
   15
        against the SAG Health Plan Board of Trustees relating to the trustees’
   16
        consideration, approval and implementation of the Health Plans Merger, and the
   17
        SAG-AFTRA Health Plan Board of Trustees relating to the trustees’ administration
   18
        and management of the SAG-AFTRA Health Plan following the Health Plans
   19
        Merger. Counts I and III of this action are brought against the former SAG Health
   20
        Plan Trustees for conduct prior to the January 1, 2017 Health Plans Merger. Counts
   21
        II and IV are against the SAG-AFTRA Health Plan Trustees for post-merger
   22
        conduct.
   23
                 3.     The SAG Health Plan was formed in 1960 to provide health coverage
   24
        to all members of the Screen Actors Guild (“SAG”). To provide seed funding for the
   25
        pension and health plans, every SAG performer surrendered the entirety of their
   26
        television residuals earnings for movies made prior to 1960. Now, the same older
   27
        performers who made those tremendous sacrifices have been abandoned and will
   28

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    1 not be eligible for the Union health benefit, while employer contributions based on

    2 all of their earnings will continue to be made to fund the health plan, and all of their

    3 earnings will be used to assess Union dues, income taxes and the cost of an

    4 individual health plan.

    5        4.     In 2012, SAG members commenced litigation seeking to stop the
    6 merger (“Union Merger”) of SAG and the American Federation of Television and

    7 Radio Artists (“AFTRA”) unions. SAG members were concerned (justifiably, as it

    8 turned-out) that the expected future mergers of the respective SAG and AFTRA

    9 benefit plans would adversely impact the benefits of SAG members. The members

   10 contended, among other things, SAG had not evaluated the impact of the expected

   11 future benefit plan mergers on SAG members and their health and pension benefits.

   12 In opposing the members’ claims, SAG told the members and the court that any

   13 future merger of the unions’ benefit plans would be within the purview of the

   14 benefit plan trustees, who would consider all impact information to determine

   15 whether a merger was in the best interests of the participants and their beneficiaries,

   16 in accordance with their ERISA fiduciary duties.

   17        5.     The Union Merger was approved, and SAG and AFTRA merged into
   18 SAG-AFTRA, effective in March 2012 (“Union”). The respective SAG and AFTRA

   19 health and pension plans continued separately.

   20        6.     In June 2016, Union leadership announced that the respective health
   21 benefit plans’ trustees had agreed to merge the SAG Health Plan with the AFTRA

   22 Health Plan. Union President Gabrielle Carteris stated that the merger would

   23 position the new health plan “to be financially sustainable for all members for years

   24 to come.” SAG Health Plan Trustee, Defendant David White, stated that the merger

   25 would “strengthen the overall financial health of the plan while ensuring

   26 comprehensive benefits for all participants,” and would provide “a robust

   27

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    1 foundation of healthcare for our membership, which the trustees can continue to

    2 improve upon, nurture and grow over time.”

    3        7.     The Health Plans Merger was effective January 1, 2017. In the merged
    4 plan, Senior Performer Coverage, which provided lifetime Union health coverage at

    5 age 65 to performers (and their dependents and surviving spouse) with the requisite

    6 years of Union pension service credit, continued for all performers already receiving

    7 it, and would be available to all performers at age 65 with the required pension

    8 credit. In addition, all earnings for all participants age 65 and older were counted

    9 toward eligibility for the Union health benefit, so long as the participant had at least

   10 $1 in sessional earnings in the period.

   11        8.     Just three and one-half years after the Health Plans Merger, on August
   12 12, 2020, in the midst of the COVID-19 pandemic and the related work shutdown

   13 and economic crisis, the health plan shocked participants with the sudden

   14 announcement of draconian changes to the health plan benefit structure that targeted

   15 participants age 65 and older based on age, and prevented thousands of health plan

   16 participants from qualifying for the Union health benefit (“Benefit Cuts”).

   17 According to the health plan, the Benefit Cuts were purportedly driven by the health

   18 plan’s dire financial condition, on which the plan opportunistically and misleadingly

   19 blamed the COVID-19 pandemic.

   20        9.     As alleged more particularly herein, the Benefit Cuts, among other
   21 things, eliminated Senior Performer Coverage, disqualified residuals earnings of

   22 participants age 65 and older who are taking a Union pension from counting toward

   23 earnings-based eligibility for the Union health benefit, and immediately altered the

   24 base earnings period for all participants age 65 and older to October 1 – September

   25 30.

   26        10.    In addition, prior to the Benefit Cuts, the health plan had
   27 unconditionally assured Senior Performer Coverage to surviving spouses of

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    1 performers for the remainder of their lifetime so long as he or she did not remarry.

    2 The January 17, 2016 letter to surviving spouse Madonna Magee stated: “Under the

    3 rules of the Health Plan we are privileged to provide continuing benefits under the

    4 Extended Spousal Benefit effective January 1, 2016. You are eligible for these

    5 benefits until you remarry or upon your demise.” Plaintiff Audrey Loggia received

    6 the same promise following the December 2015 death of her spouse, Robert Loggia.

    7 The Benefit Cuts eliminated this benefit.

    8        11.   Employer contributions, which are by far the primary funding source
    9 for the health plan, are determined and mandated by the operative collective

   10 bargaining agreements, and are based on all earnings of each participant, regardless

   11 of age or whether the performer takes a Union pension. The health plan collects

   12 contributions from employers based on a participant’s residual earnings at the very

   13 same rate it collects contributions based on the participant’s sessional earnings,

   14 regardless of age or whether the performer is taking a Union pension. Union

   15 membership dues likewise are assessed based on a member’s total earnings,

   16 regardless of age or whether the performer is taking a Union pension. Federal and

   17 state taxes and health premiums, too, are assessed based on all performer earnings.

   18        12.   Health plan trustees Richard Masur and Barry Gordon told participants
   19 in early August 2020, after the announcement of the Benefit Cuts, that the health

   20 plan trustees had known for two years that the merged plan’s benefit structure was

   21 not sustainable under the operative collective bargaining agreements without

   22 additional funding. On April 1, 2020, the Union and the health plan had announced

   23 a temporary three-month reduction of health plan premiums and an extension of the

   24 Union dues deadline, in response to the COVID-19 pandemic. In announcing these

   25 measures, Gabrielle Carteris and health plan trustee David White stated nothing

   26 whatsoever about looming benefit cuts. In fact, they said “[i]n March alone we

   27 processed 312,000 residuals checks totaling $73 million.”

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    1        13.      The COVID-19 excuse for the Benefit Cuts ignores the readily
    2 available measures that could have been taken to address such a one-time event

    3 without targeting for elimination from the Union health benefit participants age 65

    4 and older, many of whom surrendered their pre-1960 film residual rights to establish

    5 the SAG pension and health plans for all members. When the Benefit Cuts were

    6 announced, the health plan stated that the Benefit Cuts would remove 10% of the

    7 plan’s 33,000 participants and 9% of their 32,000 dependents from SAG-AFTRA

    8 health coverage. This number, however, omitted the over 8,000 participants who

    9 were obtaining Senior Performer Coverage and will be prevented by the Benefit

   10 Cuts from obtaining the Union health benefit. In fact, the Benefit Cuts will likely

   11 eliminate more than one-third of health plan participants from the Union health

   12 benefit, while employers will continue to contribute to the health plan based on all

   13 earnings of these participants under the operative collective bargaining agreements,

   14 and Union dues will continue to be assessed based on all earnings of these

   15 participants.

   16        14.      Moreover, the health plan was projected to have a more than $250
   17 million “fund reserve” at the end of 2020, which was funded in-part based on all

   18 earnings of the very participants who will be prevented by the cuts from obtaining

   19 the SAG-AFTRA health benefit.

   20        15.      Contrary to the June 2016 statements by Union President Carteris and
   21 SAG Health Plan Trustee Defendant David White, the January 2017 Health Plans

   22 Merger did not position the plan to “be financially sustainable for all members for

   23 years to come,” “strengthen the overall financial health of the plan while ensuring

   24 comprehensive benefits for all participants,” or provide “a robust foundation of

   25 healthcare for our membership.” The trustees of the merged plan knew by at least

   26 mid-2018 that the terms of the operative collective bargaining agreements were

   27 insufficient to sustain the health benefit structure for all participants. SAG-AFTRA

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    1 Health Plan trustee-defendants Richard Masur and Barry Gordon represented on

    2 August 19, 2020 that the Benefit Cuts had been in the works for two years, and that

    3 the trustees had worked nearly every day of those two years trying to figure out how

    4 to preserve the Union health benefit.

    5        16.    During this two-year period in which the health plan trustees spent
    6 working to figure out how to preserve the Union health benefit, the three major

    7 collective bargaining agreements were negotiated and approved. Two of these

    8 agreements were approved by the SAG-AFTRA National Board and put to a

    9 membership vote, and the third was negotiated by Union staff and approved by the

   10 SAG-AFTRA National Board but not put to a membership vote. When these

   11 contracts were negotiated, the fundamental components of the total package of value

   12 for members in exchange for their work were up for bargaining by the members’

   13 representatives, including some new money, employer health plan contribution rates

   14 (based on all earnings of all members), wages, working conditions and potential

   15 diversions of wage increases.

   16        17.    The SAG-AFTRA Health Plan Trustees, several of whom both
   17 participated directly in the contract negotiations as representatives of the health plan

   18 participants and voted as SAG-AFTRA National Board members to approve the

   19 contracts, failed to disclose the funding needed to sustain the Union health benefit

   20 structure, that the newly negotiated contract terms were insufficient to sustain the

   21 health benefit structure for all participants, and that massive cuts to eliminate

   22 thousands of participants from the Union health benefit were coming without

   23 increased funding. The health plan trustees who participated in the negotiations and

   24 votes to approve the contracts, in fact, approved and voted to approve the terms and

   25 the contracts.

   26        18.    Health plan CEO Michael Estrada and health plan trustees White,
   27 Masur and Gordon effectively confirmed the materiality of the withheld

   28

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    1 information, in Zoom conferences with Union members shortly after the

    2 announcement of the Benefit Cuts, stating that employer contributions negotiated by

    3 the Union during the collective bargaining agreements have not kept up with the

    4 cost of providing Union health coverage to the 33,000 participants and their 32,000

    5 family members.

    6        19.   This action asserts that the SAG Health Plan Trustees breached their
    7 ERISA fiduciary duties in effecting the Health Plans Merger and the related

    8 amendments to the SAG Health Plan Trust Agreement. Their ERISA fiduciary

    9 duties required them to act solely in the interests of the SAG Health Plan

   10 participants and their beneficiaries, for the exclusive purpose of providing benefits

   11 to the participants and their beneficiaries, defraying reasonable administrative

   12 expenses, and with the care, skill, prudence and diligence under the circumstances

   13 then prevailing that a prudent man acting in a like capacity and familiar with such

   14 matters would use in the conduct of an enterprise of like character and with like

   15 aims. See 29 U.S.C. § 1104(a). A diligent pre-merger investigation and analysis

   16 would have revealed that the merged health plan would not have a benefit structure

   17 sustainable for all participants under the operative collective bargaining agreements,

   18 and the inadvisability of proceeding with the merger given the detrimental impact it

   19 would have on the interests of the SAG Health Plan participants and their

   20 beneficiaries. Soon after the Health Plans Merger, by mid-2018, the SAG-AFTRA

   21 Health Plan Trustees knew the operative collective bargaining agreements would not

   22 sustain the health benefit structure for all participants in the merged plan. The SAG

   23 Health Plan Trustees either failed to prudently evaluate the sustainability of the

   24 health benefit structure in the merged plan, or discovered the benefit structure was

   25 not sustainable for all participants and nevertheless proceeded to effect the merger

   26 and amendments to the trust agreement. In either factual scenario, the SAG Health

   27 Plan Trustees breached their ERISA fiduciary duties.

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    1        20.    This action also asserts that, following the Health Plans Merger, the
    2 SAG-AFTRA Health Plan Trustees breached their ERISA fiduciary duties by failing

    3 to disclose material information to the health plan participants and their

    4 representatives in connection with the three major contract negotiations and

    5 approvals. The SAG-AFTRA Health Plan Trustees, several of whom participated

    6 directly in the negotiations as representatives of the participants, and voted to

    7 approve the negotiated contracts as SAG-AFTRA National Board members, knew

    8 but failed to disclose the funding required to sustain the health benefit structure, that

    9 the newly negotiated terms were insufficient to sustain the health benefit structure

   10 and that massive cuts to eliminate thousands of participants from the Union health

   11 benefit were coming without increased funding. The withheld information was

   12 vitally material to the participants and their representatives in the negotiations and

   13 approvals, as the contracts were inextricably related to the participants’ health

   14 benefit and the health plan. The failure to disclose the material information,

   15 particularly as several health plan trustees directly participated and approved the

   16 contract terms, violated the health plan trustees’ ERISA fiduciary duties.

   17        21.    The action also asserts the SAG-AFTRA Health Plan Trustees breached
   18 their ERISA fiduciary duties in effecting the Benefit Cuts targeting participants 65

   19 or older for elimination from the Union health benefit based on age. The targeting of

   20 the participants age 65 and older to prevent these participants from obtaining the

   21 Union health benefit based on age improperly and illegally discriminated against

   22 these participants based on age, in contravention of the documents that govern the

   23 plan and in breach of the trustees’ ERISA fiduciary duties. The plan documents,

   24 including the SAG-AFTRA Health Plan Summary Plan Description (“SPD”),

   25 prohibit discrimination against any participant in any way to prevent participants

   26 from obtaining benefits under the health plan. The SAG-AFTRA Health Plan Trust

   27 Agreement requires the trustees to administer and operate the plan in compliance

   28

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    1 with applicable law. The Benefit Cuts discriminate against plan participants age 65

    2 and older to prevent these participants from obtaining the Union health benefit based

    3 on age, and discriminate based on the participants’ age in violation of the Age

    4 Discrimination in Employment Act of 1967, as amended, 29 U.S.C. §§ 621-634

    5 (“ADEA”) and the Unruh Civil Rights Act, Cal. Civ. Code §§ 51, 51.5 and 52

    6 (“UCRA”), as well as Section 1557 of the Affordable Care Act, 42 U.S.C. Section

    7 18116(a) (“ACA”), including as the ACA applies to the Section 1557 representation

    8 made by the trustees to the participants. At least 13 participants have filed

    9 discrimination claims with the Equal Employment Opportunity Commission

   10 (“EEOC”) against the SAG-AFTRA Health Plan. The plan’s outside counsel, Cohen

   11 Weiss & Simon, has been retained by the plan to oppose, and has submitted position

   12 statements by the plan in opposition to, the claims.

   13             22.     The action also asserts claims against the defendant trustees for co-
   14 fiduciary liability under ERISA.

   15
            II.         Trustees’ ERISA Fiduciary Duties
   16
              23.         ERISA imposes strict fiduciary duties of loyalty and prudence upon
   17
        Plan fiduciaries. ERISA Section 404(a), 29 U.S.C. § 1104(a), provides the
   18
        following, in relevant part:
   19
              (a) Prudent man standard of care
   20
                        (1) [A] fiduciary shall discharge his duties with respect to a plan
   21                       solely in the interest of the participants and beneficiaries and –
   22                     (A) for the exclusive purpose of:
   23                          (i) providing benefits to participants and their beneficiaries;
                                   and
   24
                               (ii) defraying reasonable expenses of administering the plan;
   25                              [and]
   26                     (B) with the care, skill, prudence, and diligence under the
                             circumstances then prevailing that a prudent man acting in a
   27
                             like capacity and familiar with such matters would use in the
   28                        conduct of an enterprise of like character and with like aims;

                                                       11
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    1                (C) by diversifying the investments of the plan so as to minimize
    2
                        the risk of large losses unless under the circumstances it is
                        clearly prudent not to do so; and
    3
                     (D) in accordance with the documents and instruments governing
    4                   the plan insofar as such documents and instruments are
                        consistent with [title I] and title IV.
    5
              24.    ERISA Section 403(c)(1), 29 U.S.C. § 1103(c)(1), provides that plan
    6
        assets “shall be held for the exclusive purposes of providing benefits to participants
    7
        in the plan and their beneficiaries and defraying reasonable expenses of
    8
        administering the plan.”
    9
              25.    ERISA also imposes co-fiduciary liabilities on plan fiduciaries. Section
   10
        405(a), 29 U.S.C. § 1105(a), provides a cause of action against a fiduciary for
   11
        knowingly participating in a breach by another fiduciary and knowingly failing to
   12
        cure any breach of duty:
   13
           (a) Circumstances giving rise to liability. In addition to any liability
   14
               which he may have under any other provisions of this part [29 U.S.C. §
   15          1101 et seq.], a fiduciary with respect to a plan shall be liable for a
               breach of fiduciary responsibility of another fiduciary with respect to
   16
               the same plan in the following circumstances:
   17            (1) if he participates knowingly in, or knowingly undertakes to
   18            conceal, an act or omission of such other fiduciary, knowing such act
                 or omission is a breach;
   19
                 (2) if, by his failure to comply with section 404(a)(1) [29 U.S.C. §
   20            1104(a)(1)] of this title in the administration of his specific
   21            responsibilities which give rise to his status as a fiduciary, he has
                 enabled such other fiduciary to commit a breach; or
   22
                 (3) if he has knowledge of a breach by such other fiduciary, unless
   23            he makes reasonable efforts under the circumstances to remedy the
   24            breach.
              26.    Under ERISA, a person is a fiduciary with respect to a plan to the
   25
        extent the person: (1) exercises any discretionary authority or discretionary control
   26
        over management of the plan or exercises any authority and control over the
   27
        management or disposition of its assets; (2) renders investment advice regarding
   28

                                                 12
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    1 plan assets for a fee or the other compensation (direct or indirect), or has the

    2 authority or responsibility to do so; or (3) has any discretionary authority or

    3 discretionary responsibility over plan administration. 29 U.S.C. § 1002(21)(A).

    4        27.    In connection with the Health Plans Merger, the SAG Health Plan
    5 Trustees acted as ERISA fiduciaries: (1) SAG and several defendants in this action

    6 represented to members and the court in opposing members’ claims to stop the

    7 Union Merger in 2012 that any future benefit plan merger would be within the

    8 purview of the benefit plan trustees, who would consider and evaluate all relevant

    9 impact information in the interests of the participants and their beneficiaries in

   10 accordance with their ERISA fiduciary duties; (2) the SAG Health Plan Trust

   11 Agreement and the SAG Health Plan SPD specifically provided that the trustees

   12 were subject to ERISA fiduciary duties in exercising their powers and duties as

   13 health plan trustees; and (3) considering, approving and implementing the merger

   14 and the related SAG-AFTRA Health Plan Trust Agreement amendments, and

   15 transferring the assets of the SAG Health Plan into the combined plan, constituted

   16 decisions and actions by the plan trustees regarding the administration and

   17 management of the SAG Health Plan and its assets under the SAG Health Plan Trust

   18 Agreement. The trustees’ fiduciary duties required them to conduct a diligent, fully-

   19 informed investigation and analysis to determine the impact of the merger on the

   20 SAG Health Plan participants and their beneficiaries considering the transfer of plan

   21 assets, and to proceed only if the merger was solely in the best interests of the

   22 participants and their beneficiaries.

   23        28.    Following the January 1, 2017 Health Plans Merger, the SAG-AFTRA
   24 Health Plan Trustees acted as fiduciaries under ERISA and the amended SAG

   25 Health Plan Trust Agreement in administering and managing the SAG-AFTRA

   26 Health Plan and in communicating with plan participants and their representatives.

   27 The trustees’ ERISA fiduciary duties required them to disclose material information

   28 to the participants and their representatives concerning the plan assets and

                                               13
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    1 participants’ benefits, particularly where, as here, the failure to disclose known

    2 information under the circumstances is materially misleading. The negotiations of

    3 the collective bargaining agreements that determine, among other things, the

    4 employer contributions to the health plan based on participants’ earnings under the

    5 contracts, and the votes whether to approve of these agreements, required the health

    6 plan trustees to disclose known information material to matters under the

    7 negotiation and vote concerning the collective bargaining agreements, which

    8 directly and inextricably relate to the rights and benefits of plan participants and the

    9 health plan.

   10         29.    The SAG-AFTRA Health Plan Trustees acted as fiduciaries in
   11 operating the plan and approving and implementing the Benefit Cuts. The SAG-

   12 AFTRA Health Plan Trustees’ ERISA fiduciary duties required them to manage and

   13 administer the plan in compliance with applicable law and in accordance with the

   14 governing plan documents including the plan trust agreement and SPD.

   15         30.    ERISA Section 502(a)(2), 29 U.S.C. § 1132(a)(2), authorizes a
   16 participant to bring a civil action for appropriate relief under Section 409 of ERISA,

   17 29 U.S.C. §1109, which provides:

   18         Any person who is a fiduciary with respect to a plan who breaches any
   19
              of the responsibilities, obligations, or duties imposed upon fiduciaries
              by this title shall be personally liable to make good to such plan any
   20         losses to the plan resulting from each such breach, and to restore to
   21         such plan any profits of such fiduciary which have been made through
              use of assets of the plan by the fiduciary, and shall be subject to such
   22         other equitable or remedial relief as the court may deem appropriate,
   23         including removal of such fiduciary. A fiduciary may also be removed
              for a violation of Section 411 of this Act [29 U.S.C. § 1111].
   24
              31.    Section 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant to
   25
        bring a civil action to “enjoin any act or practice which violates any provision of this
   26
        title or the terms of the plan,” or “to obtain other appropriate equitable relief . . . to
   27

   28

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    1 redress such violations or . . . to enforce any provisions of this title or the terms of

    2 the plan.”

    3
          III.         JURISDICTION AND VENUE
    4
                 32.     This Court has exclusive jurisdiction over the subject matter of this
    5
        action under 29 U.S.C. § 1132(e)(1) and 28 U.S.C. § 1331 because it is an action
    6
        arising under 29 U.S.C. §§ 1132(a)(2) and (3).
    7
                 33.     This District is the proper venue for this action under 29 U.S.C. §
    8
        1132(e)(2) and 28 U.S.C. § 1391(b) because the SAG Health Plan was administered
    9
        and can be found in this District, and the SAG-AFTRA Health Plan is administered
   10
        and can be found in this District.
   11
                 34.     Plaintiffs have standing to bring this lawsuit on behalf of the SAG
   12
        Health Plan and the SAG-AFTRA Health Plan under 29 U.S.C. § 1132(a)(2) and
   13
        (3). The plans are the victims of a fiduciary breach and will be the recipient of any
   14
        recovery. Section 1132(a)(2) authorizes any participant or beneficiary to sue as a
   15
        representative of the plans to seek relief on behalf of the plans. Section 1132(a)(3)
   16
        authorizes any participant or beneficiaries to sue as a representative of the plans to
   17
        enjoin any act or practice that violates ERISA or to obtain other appropriate
   18
        equitable relief to redress violations and/or enforce the provisions of ERISA. As
   19
        explained in detail below, the plans suffered substantial losses and harm caused by
   20
        Defendants’ fiduciary breaches and continue to remain exposed to harm. In addition,
   21
        each individual Plaintiff has been injured by the trustees’ fiduciary breaches. Those
   22
        injuries may be redressed by a judgment of this Court in favor of Plaintiffs.
   23
           IV.         THE PARTIES
   24
                 35.     Plaintiff Edward Asner was a participant in the SAG Health Plan at the
   25
        time of the Health Plans Merger, and has been a participant in the SAG-AFTRA
   26
        Health Plan since the Health Plans Merger. Mr. Asner is over 65 and takes a
   27
        pension. Prior the Benefit Cuts, Mr. Asner had accrued Senior Performer Coverage
   28

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    1 by 20 years of pension service. The Benefit Cuts immediately changed Mr. Asner’s

    2 base earnings period, which had been from April 1-March 31 for 59 years, to

    3 October 1-September 30, and Mr. Asner’s benefit period, which had been from July

    4 1-June 30 for 59 years, to January 1-December 31. Prior to the Benefit Cuts, Mr.

    5 Asner had more than $25,950 in yearly covered earnings with residuals and

    6 sessional earnings. Mr. Asner lost credit for residuals earnings by the Benefits Cuts.

    7 As a result of the Benefit Cuts and the elimination of Senior Performer Coverage

    8 and the elimination of residuals earnings from covered earnings to qualify for

    9 coverage, Mr. Asner will lose his SAG-AFTRA coverage and will not reach the

   10 qualifying earnings threshold by sessional earnings only.

   11        36.   Plaintiff Michael Bell was a participant in the SAG Health Plan at the
   12 time of the Health Plans Merger, and has been a participant in the SAG-AFTRA

   13 Health Plan since the Health Plans Merger. Mr. Bell is over 65 and takes a pension.

   14 Prior to the Benefit Cuts, Mr. Bell had accrued Senior Performer Coverage by 20

   15 years of pension service. Prior to the Benefit Cuts, Mr. Bell had more than $25,950

   16 in yearly covered earnings with residuals and sessional earnings. Mr. Bell lost credit

   17 for residuals earnings by the Benefit Cuts. As a result of the Benefits Cuts and the

   18 elimination of residuals from covered earnings, Mr. Bell will lose his SAG-AFTRA

   19 health coverage and will not qualify for health coverage by residuals earnings.

   20        37.   Plaintiff Raymond Harry Johnson was a participant in the SAG Health
   21 Plan at the time of the Health Plans Merger, and has been a participant in the SAG-

   22 AFTRA Health Plan since the Health Plans Merger. Mr. Johnson is over 65 and

   23 takes a pension. Prior to the Benefit Cuts, Mr. Johnson had accrued Senior

   24 Performer Coverage by 20 years of pension service. The Benefit Cuts immediately

   25 changed Mr. Johnson’s base earnings period, which had been from April 1-March

   26 31 for 44 years, to October 1-September 30, and Mr. Johnson’s benefit period,

   27 which had been from July 1-June 30 for 44 years, to January 1-December 31. Prior

   28 to the Benefit Cuts, Mr. Johnson had more than $25,950 in yearly covered earnings

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    1 with residuals and sessional earnings. Mr. Johnson lost credit for residuals earnings

    2 by the Benefit Cuts. As a result of the Benefits Cuts and the elimination of residuals

    3 from covered earnings, Mr. Johnson will not qualify for SAG-AFTRA health

    4 coverage after June 30, 2021.

    5        38.   Plaintiff Sondra James Weil was a participant in the SAG Health Plan
    6 at the time of the Health Plans Merger, and has been a participant in the SAG-

    7 AFTRA Health Plan since the Health Plans Merger. Ms. Weil is over 65 and takes a

    8 pension. The Benefit Cuts immediately changed Ms. Weil’s base earnings period,

    9 which had been from January 1-December 31 for 30 years, to October 1-September

   10 30, and Ms. Weil’s benefit period, which had been from October 1-September 30 for

   11 30 years, to January 1-December 31. Prior to the Benefit Cuts, Ms. Weil accrued

   12 Senior Performer Coverage by 20 years of pension service. Prior to the Benefit Cuts,

   13 Ms. Weil had more than $25,950 in yearly covered earnings with residuals and

   14 sessional earnings. Ms. Weil lost credit for residuals earnings by the Benefit Cuts.

   15 As a result of the Benefits Cuts and the elimination of residuals from covered

   16 earnings, Ms. Weil will not qualify for SAG-AFTRA health coverage.

   17        39.   Plaintiff David Jolliffe was a participant in the SAG Health Plan at the
   18 time of the Health Plans Merger, and has been a participant in the SAG-AFTRA

   19 Health Plan since the time of the Health Plans Merger. Mr. Jolliffe is over 65 years

   20 of age and takes a pension. Prior to the Benefit Cuts, Mr. Jolliffe accrued Senior

   21 Performer Coverage by 20 years of pension service. The Benefit Cuts changed Mr.

   22 Jolliffe’s base earnings period effective immediately from January 1-December 31

   23 to October 1-September 30. Mr. Jolliffe was not notified by the health plan until

   24 late-October 2020 that his earnings period had already begun on October 1, despite

   25 that his earnings period had begun on January 1 for 53 years. The change limited his

   26 time to obtain sessional opportunities. The Benefit Cuts also changed Mr. Jolliffe’s

   27 benefit period from April 1-March 31 to January 1-December 31. Prior to the

   28 Benefit Cuts, Mr. Jolliffe had pre-qualified for coverage through March 31, 2022.

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    1 Under the changed benefit period in the Benefit Cuts, his end benefit date was rolled

    2 back to December 31, 2021, taking accrued advanced contributions already made.

    3        40.   Plaintiff Robert Clotworthy was a participant in the SAG Health Plan at
    4 the time of the Health Plans Merger, and has been a participant in the SAG-AFTRA

    5 Health Plan since the Health Plans Merger. Mr. Clotworthy is over 65 and takes a

    6 pension. Prior to the Benefit Cuts, Mr. Clotworthy would have qualified for Senior

    7 Performer Coverage upon reaching age 65 on October 24, 2020. The Benefit Cuts

    8 immediately changed Mr. Clotworthy’s base earnings period, which had been from

    9 July 1-June 30 for nearly 50 years, to October 1-September 30, and Mr.

   10 Clotworthy’s benefit period, which had been from October 1-September 30 for

   11 nearly 50 years, to January 1-December 31. Prior to the Benefit Cuts, Mr.

   12 Clotworthy had more than $25,950 in yearly covered earnings with residuals and

   13 sessional earnings. Mr. Clotworthy lost credit for residuals earnings by the Benefit

   14 Cuts. As a result of the Benefits Cuts and the elimination of residuals from covered

   15 earnings, Mr. Clotworthy will not qualify for SAG-AFTRA health coverage. In mid-

   16 2020, Mr. Clotworthy contacted the plan to discuss his health coverage, as he was to

   17 turn 65 on October 24, 2020. The plan representative told him he had “the golden

   18 ticket” of lifetime secondary SAG-AFTRA health coverage as a senior performer.

   19        41.   Plaintiff Thomas Cook is 90 years of age and has been a SAG member
   20 and health coverage plan participant in the SAG-AFTRA Health Plan since the

   21 Health Plans Merger. Mr. Cook is over 65 and takes a pension. Prior to the Benefits

   22 Cuts, Mr. Cook accrued Senior Performer Coverage by 20 years of pension service.

   23 Prior to the Benefit Cuts, Mr. Cook had more than $25,950 in yearly covered

   24 earnings with residuals and sessional earnings. Mr. Cook lost credit for residuals

   25 earnings by the Benefit Cuts. As a result of the Benefit Cuts, Mr. Cook and his

   26 dependents will lose and not qualify for SAG-AFTRA Senior Performer Coverage

   27 health coverage as of January 1, 2021.

   28

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    1        42.   Plaintiff Deborah White has been a participant in the SAG-AFTRA
    2 Health Plan since the Health Plans Merger. Ms. White is over 65 and takes a

    3 pension. Prior to the Benefit Cuts, Ms. White had accrued Senior Performer

    4 Coverage by 20 years of pension service. The Benefit Cuts immediately changed

    5 Ms. White’s base earnings period, which had been from April 1-March 31 for 50

    6 years, to October 1-September 30, and Ms. White’s benefit period, which had been

    7 from April 1-March 31 for nearly 50 years, to January 1-December 31. Prior to the

    8 Benefit Cuts, Ms. White had prequalified for coverage through March 31, 2022.

    9 Under the changed benefit period in the Benefit Cuts, her end benefit date was

   10 rolled back to December 31, 2021, taking accrued advanced contributions already

   11 made. Prior to the Benefit Cuts, Ms. White had more than $25,950 in yearly covered

   12 earnings with residuals and sessional earnings. Ms. White lost credit for residuals

   13 earnings by the Benefit Cuts. As a result of the Benefits Cuts and the elimination of

   14 residuals from covered earnings, Ms. White will lose her SAG-AFTRA health

   15 coverage and will not qualify for health coverage by residuals earnings.

   16        43.   Plaintiff Donna Lynn Leavy has been a participant in the SAG-AFTRA
   17 Health Plan since the Health Plans Merger. Ms. Leavy is over 65 and takes a

   18 pension. Prior to the Benefit Cuts, Donna Lynn Leavy had accrued Senior Performer

   19 Coverage by 20 years of pension service. Prior to the Benefit Cuts, Ms. Leavy had

   20 more than $25,950 in yearly covered earnings with residuals and sessional earnings.

   21 Ms. Leavy lost credit for residuals earnings by the Benefit Cuts. As a result of the

   22 Benefits Cuts and the elimination of residuals from covered earnings, Ms. Leavy

   23 will lose her SAG-AFTRA health coverage and will not qualify for health coverage

   24 by residuals earnings.

   25        44.   Plaintiff Audrey Loggia is the surviving spouse of Robert Loggia, a
   26 SAG member with Senior Performer Coverage who died in December 2015.

   27 Following Robert’s death, the plan notified Ms. Loggia she was entitled to coverage

   28 as a surviving spouse for the remainder of her lifetime or until she remarried. Before

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    1 either of those circumstances appreciated, however, the plan notified her on

    2 November 24, 2020 that she would lose coverage on September 30, 2021 under the

    3 Benefit Cuts.

    4        45.   The SAG-AFTRA Health Fund is joined as a party defendant to
    5 facilitate comprehensive relief on the claims and is not alleged to be a fiduciary

    6 herein.

    7        46.   The Board of Trustees of the SAG Health Plan at the time of the Health
    8 Plans 2017 Merger included the following 37 SAG Health Plan Trustees: Union

    9 Trustees – Daryl Anderson, Amy Aquino, Timothy Blake, Jim Bracchitta, John

   10 Carter Brown, Duncan Crabtree-Ireland, Mandy Fabian, Leigh French, Barry

   11 Gordon, Bob Kaliban, Richard Masur, John T. McGuire, D.W. Moffett, Michael

   12 Pniewski, Ray Rodriguez, John H. Sucke, Kim Sykes, Ned Vaughn and David P.

   13 White; Management Trustees –         Eryn M. Doherty, Gary M. Elliott, Nicole
   14 Gustafson, Marla Johnson, Robert W. Johnson, Sheldon Kasdan, Shelley Landgraf,

   15 Allan Linderman, Carol A. Lombardini, Stacy K. Marcus, Diane P. Mirowski, Paul

   16 Muratore, Alan H. Raphael, John E. Rhone, David Silberman, David Weissman,

   17 Russell Wetanson and Samuel P. Wolfson.

   18        47.   The Board of Trustees of the SAG-AFTRA Health Plan immediately
   19 following the Health Plans 2017 Merger included the following 39 individual SAG-

   20 AFTRA Health Plan Trustees: Union Trustees – Daryl Anderson, Amy Aquino,

   21 Timothy Blake, Jim Bracchitta, John Carter Brown, Duncan Crabtree-Ireland, Barry

   22 Gordon, David Hartley-Margolin, Matthew Kimbrough, Lynne Lambert, Richard

   23 Masur, John T. McGuire, D.W. Moffett, Michael Pniewski, Ray Rodriguez, Shelby

   24 Scott, Sally Stevens, Kim Sykes, Ned Vaughn and David P. White; and Producer

   25 Trustees – Helayne Antler, Ann Calfas, J. Keith Gorham, James Harrington, Harry

   26 Isaacs, Marla Johnson, Robert W. Johnson, Sheldon Kasdan, Allan Linderman,

   27 Carol Lombardini, Stacy K. Marcus, Diane P. Mirowski, Paul Muratore, Tracy

   28

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    1 Owen, Marc Sandman, Lara Unger, David Weissman, Russell Wetanson and

    2 Samuel P. Wolfson.

    3           48.     The current Board of Trustees of the SAG-AFTRA Health Plan, as of
    4 2021, includes the following 38 individual SAG-AFTRA Health Plan Trustees:

    5 Union Trustees – Daryl Anderson, Amy Aquino, Timothy Blake, Jim Bracchitta,

    6 John Carter Brown, Duncan Crabtree-Ireland, Barry Gordon, David Hartley-

    7 Margolin, Matthew Kimbrough, Lynne Lambert, Richard Masur, John T. McGuire,

    8 Michael Pniewski, Linda Powell, Ray Rodriguez, Shelby Scott, Sally Stevens, Kim

    9 Sykes, Gabriela Teissier, Ned Vaughn and David P. White; and Producer Trustees –

   10 Helayne Antler, J. Keith Gorham, James Harrington, Harry Isaacs, Robert W.

   11 Johnson, Sheldon Kasdan, Allan Linderman, Carol Lombardini, Stacy K. Marcus,

   12 Diane P. Mirowski, Paul Muratore, Tracy Owen, Marc Sandman, Kim Stevens, Lara

   13 Unger, David Weissman, Russell Wetanson and Samuel P. Wolfson.

   14
           V.         SUBSTANTIVE ALLEGATIONS
   15

   16

   17           49.     In 1960, every SAG performer surrendered their right to all residual
   18 earnings from all films produced before 1960 in exchange for a one-time payout

   19 from producers of $2.25 million to seed and establish a pension and health plan for

   20 all SAG members. As a result, these performers, their beneficiaries and surviving

   21 spouses have never received, and continue not to receive, a cent from television

   22 airings of their pre-1960s work. Today, the $2.25 million of seed capital obtained by

   23 the members in negotiations over their pre-1960 films residuals would be worth

   24 nearly $1 billion, compounding since 1960 in the S&P 500.

   25           50.     Now, after having been sold the 2012 Union Merger as creating a
   26 merged union that would improve benefits, and having been sold the 2017 Health

   27 Plans Merger as “position[ing] our health plan to be financially sustainable for all

   28 members for years to come,” “strengthen[ing] the overall financial health of the plan

                                                  21
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    1 while ensuring comprehensive benefits for all participants,” and “provid[ing] a

    2 robust foundation of health care for our membership,” these performers who

    3 personally sacrificed have suddenly been abandoned and left ineligible for the

    4 Union health benefit by the plan they personally sacrificed to create. The health plan

    5 has dramatically changed the benefit structure to drop thousands of mostly older

    6 participants by targeting those aged 65 and older to prevent them from obtaining the

    7 Union health benefit based on age, while employers will continue to contribute to

    8 the health plan based on all earnings of the targeted participants under the operative

    9 collective bargaining agreements. Union dues, taxes and health coverage costs will

   10 likewise continue to be assessed based on all earnings of the targeted participants.

   11

   12

   13

   14          51.   The governing board of SAG agreed in January 2012 to merge SAG
   15 with AFTRA. The Union Merger was subject to approval by a majority vote of the

   16 respective memberships.

   17          52.   In January 2012, pension and health benefits were provided to the
   18 respective members of SAG and AFTRA by separate pension and welfare (health)

   19 plans, which were collectively bargained, joint-trusted labor-management trusts

   20 subject to ERISA. At the time of the Union Merger, it was expected that the SAG

   21 and AFTRA benefits plans would merge in the near future. According to Gabrielle

   22 Carteris, former Executive Vice President of SAG-AFTRA and current second-term

   23 President of SAG-AFTRA, “during the movement to merge SAG and AFTRA [the

   24 late], Ken Howard [then-President] and [Carteris], along with members from around

   25 the country, made a promise that we would work tirelessly toward a merged health

   26 plan,”    described as a “critical goal.” SAG and AFTRA Health Care
   27 Plans to Merge, VARIETY (June 8, 2016), available at https://variety.com/2016/tv/ne

   28 ws/sag-aftra-health-care-merge-1201791269/.

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    1        53.   After SAG announced the agreement for the Union Merger, members
    2 of SAG commenced litigation to stop it, asserting claims under the Labor

    3 Management      Reporting and Disclosure Act (“LMRDA”) and the Labor
    4 Management Relations Act (“LMRA”) against SAG and certain individuals,

    5 including Defendant White, Ken Howard, Defendant Aquino, Defendant Vaughn,

    6 Mike Hodge and Defendant Hartley-Margolin. See Sheen v. SAG, No. 2:12-cv-

    7 01468 (C.D. Cal. Feb. 22, 2012). The members were concerned (justifiably, as it

    8 turned out) that the expected future merger of the respective SAG and AFTRA

    9 benefit plans would adversely impact the benefits of SAG members funded under

   10 the operative bargaining agreements. The members claimed, among other things,

   11 that SAG had not adequately studied, evaluated and disclosed the impact of the

   12 expected future mergers of the unions’ separate pension plans and separate health

   13 plans. See generally First Amended Complaint, Sheen v. SAG, supra (ECF No. 32).

   14        54.   In support of their claims to stop the Union Merger, the SAG members
   15 submitted the Declaration of Alex M. Brucker, an expert in pre-merger due

   16 diligence for ERISA plan mergers (“Brucker Declaration”). The Brucker

   17 Declaration stated:

   18               The purpose of this Declaration is to address the allegations set
   19
             forth in Plaintiffs’ request for injunctive relief. As set forth in greater
             detail below, full and fair disclosure would require an “ERISA Impact
   20        Report” which can be prepared by appropriate professionals to analyze
   21        and report the impact of (i) the Union Merger on the Plans and its co-
             sponsors; (ii) a Plan Merger on the Plans and on the present and future
   22        benefits of and costs to the participants and beneficiaries and co-
   23        sponsors of the Plans; and (iii) ERISA and the [Internal Revenue] Code
             on the Plans, their fiduciaries, participants, beneficiaries and co-
   24        sponsors.
   25               By full and fair disclosure of an ERISA Impact Report, SAG
             would provide the information necessary for SAG members to
   26
             intelligently cast their votes regarding the Union Merger.
   27
                   I am unaware of any ERISA Impact Report prepared for or
   28        considered by the Unions. I have reviewed all seven legal submissions,

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    1         with particular emphasis on the “Feasibility Report” prepared for the
    2
              Boards by Deborah M. Lerner of the law firm of Willig, Williams &
              Davidson, P.A. The Feasibility Report generally concludes and
    3         purports to assure the Unions that (1) there is no legal obstacle to
    4         prevent the Plan Merger; (2) federal law will protect all benefits earned
              by participants under the Plans as of the date of Plan Merger; and (3)
    5         there are some potential advantages to the Plan Merger. All of the
    6         “feasibility” letters reach similar general conclusions.
                      What is most important about the Feasibility Report and related
    7
              letters is what they do not say or consider.
    8
                     There is an important distinction between the terms “feasibility”
    9         and “impact.” No one would disagree that the merger is feasible. But
              no one involved in this matter has studied the question of the impact of
   10
              a merger of the Plans on the Plans’ participants and beneficiaries or
   11         contributing employers. All involved participants are handicapped
              because of the SAG failure to procure an ERISA Impact Report. Even
   12
              Ms. Lerner concedes this point on page 8 of the Feasibility Report as
   13         follows: “Based on a plan’s financial health and its projected funding,
              the trustees of a multiemployer pension plan may determine that it is
   14
              necessary to reduce future benefit accruals, which are not legally
   15         protected benefits. . . . It is not possible to predict whether or not any
              plan’s benefits (whether or not such plan is merged into another plan)
   16
              will be improved or reduced in the future.” (Emphasis added)
   17
        Id. ¶¶ 5-9.
   18
              55.     Brucker continued:
   19
                     Since this major motivation for the Union Merger can
   20         realistically only be accomplished with a subsequent Plan Merger, it is
              my opinion that the Union Merger must be viewed, particularly from a
   21
              member prospective, as indistinguishable from a Plan Merger. This is
   22         their only real opportunity to vote on this issue. In essence, the Plan
              Merger will take place if the Union Merger is consummated, without
   23
              any need for member vote or input. Thus, the issues resulting from the
   24         Union Merger cannot be considered separately from the issues
              surrounding the Plan Merger. An ERISA Impact Report is needed to
   25
              disclose to the SAG and AFTRA members how their pension and
   26         health benefits may be affected by the eventual Plan Merger.
   27                It is my opinion, based on my careful consideration of this issue,
              that a Plan Merger raises complex issues, could create serious problems
   28

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    1         and conflicts, and could result in loss of benefits for both SAG
    2
              members and AFTRA members. The precise impact on Plan benefits
              (or required member and co-sponsor contributions) cannot be properly
    3         assessed without an ERISA Impact Report. Accordingly, consistent
    4         with the Joint Boards of Trustees (which govern the Boards) ERISA
              fiduciary duties to the Plans and the participants and beneficiaries, the
    5         “best practice” approach is to thoroughly investigate all these issues
    6         prior to the vote of the membership, not after, particularly when the
              Plan Merger appears to be inevitable once the Union Merger is
    7         complete.
    8               Based on my 30+ years of experience advising clients
              considering plan sponsor mergers, sponsors of ERISA covered plans,
    9
              Administrative Committees, Unions, Association and employees alike,
   10         and my extensive knowledge of ERISA and the Code, it would be in
   11
              accordance with the spirit of ERISA and in the best interests of the
              Plans’ participants, beneficiaries and co-sponsors for the Unions to first
   12         conduct and carefully consider an ERISA Impact Report prior to the
   13
              Union Merger vote.
        Id. ¶¶ 16-18.
   14

   15         56.       Brucker further stated:
   16               Until a full and formal ERISA Impact Report of how to address
   17         and quantify these problems is completed, no , one, [sic] not even
              pension experts, can intelligently evaluate or quantify the probable
   18         negative impact on the members’ pension and health benefits. The
   19         Union Merger is so inextricably interconnected with the Plan Merger
              that members cannot be asked to evaluate and vote on the Union
   20         Merger until issues relating to the Plan Merger have been resolved and
   21         concrete proposals formulated so that the members can make informed
              choices.
   22
                    A similar study was done in 2003. It is referred to as the Mercer
   23         Report. It is attached hereto as Exhibit B. It isolated the merger variable
   24         and concluded:
                        “If one design is to apply to SAG and AFTRA participants,
   25
                        suggested approach will be to determine a combined future
   26                   benefit design…”
   27                                                 ***
                        “… this will almost certainly mean either that contributions will
   28

                                                    25
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    1               need to increase or that benefits will be lower than current
    2
                    benefits for most members….”
                                                   ***
    3
                    “… Combined plan will not be able to afford all of the desirable
    4               features for both plans – absent contribution increases…”
    5              Essentially, the Mercer study confirmed what is fairly obvious: you
             cannot merge a rich plan (SAG) with a relatively poor plan (AFTRA) and
    6
             thereby produce two SAG level plans. Either benefits must be cut or
    7        contributions must be increased. Studying this issue is the due diligence
             required.
    8

    9        57.    SAG opposed the members’ claims to stop the Union Merger. In doing

   10 so, SAG posited that in the event of any future benefit plan merger, the plan trustees

   11 would determine whether to proceed with a merger by considering and evaluating

   12 all material information in the best interest of the participants and their beneficiaries,

   13 in accordance with their ERISA fiduciary duties. SAG asserted that future plan

   14 mergers would be within the plans’ trustees’ purview, and the plan “trustees would

   15 have to review ‘all relevant facts and circumstances” including “the funded status of

   16 the resulting merged plan, as well as the long-term financial viability of such

   17 plan[,]” and “whether or not SAG and AFTRA multiemployer plans merge will be a

   18 decision for the trustees to consider after they have reviewed all such information

   19 and data.” Opp’n. to Pls.’ Mot. for Prelim. Inj. at 10 n.11, Sheen v. SAG, supra (ECF

   20 No. 33). In its opposition to the plaintiffs’ request to enjoin the merger, SAG cited a

   21 Department of Labor Opinion addressing plan trustees’ ERISA fiduciary duties in a

   22 plan merger. Id. (citing DOL Advisory Op. 89-29A).

   23        58.    SAG also submitted the Declaration of SAG Health Plan Trustee,

   24 Defendant John McGuire. McGuire stated, among other things, the SAG Health

   25 Plan, “[a]s required by law, . . . [was] governed by an equal number of trustees

   26 appointed by SAG, on the one hand, and by management, on the other[,]” and that

   27 “[t]hose trustees govern[ed] in accordance with the Trust Agreement[] of . . . [the]

   28

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    1 Plan. . . . [a] copy of [which] [was] attached [to his Declaration].” Decl. of McGuire

    2 ¶ 2, Sheen v. SAG, supra (ECF No. 33-7).

    3         59.   The SAG Health Plan Trust Agreement submitted to the court provided
    4 that the SAG Health Plan Trustees were subject to ERISA fiduciary duties in

    5 exercising their powers and duties as trustees in all matters concerning the plan.

    6 Under Article IV the “Powers and Duties of Trustees,” the SAG Trust Agreement

    7 provided: “Section 3. Fiduciary Responsibility: Subject to the provisions of Section

    8 5 of Article VII, the Plan Trustees and any other fiduciary shall discharge their

    9 respective duties set forth in the Health Plan solely in the interest of the Participants

   10 and their beneficiaries, and:

   11         a) For the exclusive purpose of providing benefits to Participants and
   12
                 their beneficiaries and defraying reasonable expenses of
                 administering the Health Plan.
   13
              b) With the care, skill, prudence and diligence under the circumstances
   14            then prevailing that a prudent man acting in a like capacity and
                 familiar with such matters would use in the conduct of an enterprise
   15
                 of a like character and with like aims.
   16
              c) By diversifying the investments of the Health Fund so as to
   17            minimize the risk of large losses, unless under the circumstances it
                 is clearly prudent not to do so.
   18
              d) The Plan Trustees shall not be liable for the proper application of
   19            any part of the funds of the Health Plan or for any other liabilities
   20            arising in connection with the administration thereof.
   21         e) The Plan Trustees may from time to time consult with the Health
                 Plan’s Legal Counsel and shall be fully protected in acting upon the
   22            advice of said counsel with respect to legal questions.
   23         f) Nothing herein contained shall exempt any Plan Trustee from
   24
                 liability arising out of his own willful misconduct, fraud or bad
                 faith.
   25
        Section 3 stated the ERISA fiduciary duty standard. Further, “Health Plan” was
   26
        defined to “mean and include this trust agreement, the Health Fund, and any plan or
   27
        plans of welfare eligibilities and benefits adopted by the Plan Trustees pursuant to
   28

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    1 this agreement.” Definitions, Section 7.

    2         60.    Section 2 of Article VI Plans of Health Eligibilities and Benefits, titled
    3 “Compliance with Applicable Laws,” provided: “It is the intention of the parties that

    4 the Health Plan and any and all amendments thereto shall at all times . . . [b]e and

    5 remain in compliance and conformity with all applicable laws and regulations,

    6 including but not limited to all applicable provisions of the Labor Management

    7 Relations Act and any other applicable valid federal or state laws or rules or

    8 regulations . . . .”

    9        61.     Article VIII, Section 2, Limitation on Right of Amendment, provided:
   10         No amendment of or change in the Health Plan may be adopted which
   11         will alter the basic principles hereof or be in conflict with the then
              existing collective bargaining agreements or contrary to any applicable
   12         law or governmental rule or regulation. No amendment may be adopted
   13         which will cause any of the assets of the Health Fund to be used for or
              diverted to purposes other than those herein authorized or which will
   14         retroactively deprive any person of any vested benefit; except any
   15         amendment may be made which is required as a condition to obtaining
              or retaining the approval of the Health Plan by the Internal Revenue
   16         Service under the Internal Revenue Code or the Franchise Tax Board
   17         under the California Revenue and Taxation Code as either are now in
              effect or hereafter amended to the end that any contributions made to
   18         the Health Fund by the Producers are deductible for federal income tax
   19         and California state franchise tax purposes.
   20        62.     Article VIII, Section 11, Validity of Action, provided: “No action

   21 determined by the vote of the Plan Trustees, directly or through the vote of an

   22 umpire as herein contemplated, shall be valid or effective which shall interpret or

   23 apply any provisions of the Health Plans in any manner or to any extent so as to be

   24 contrary to any applicable law or governmental rule or regulation or which would

   25 exceed the powers given to the Plan Trustees as set forth hereunder or change or

   26 enlarge the express purpose hereof.”

   27        63.     Article VIII, Section 6, Use of Funds, provided: “The Plan Trustees

   28 shall use and apply the assets of the Health Fund for the following purposes only: a)

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    1 To pay all reasonable and necessary expenses incurred in the establishment and

    2 administration of the Health Plan, and b) To pay for the benefits or for the cost of

    3 insurance to provide the benefits provided for in any plan of welfare eligibilities and

    4 benefits to be adopted pursuant hereto.”

    5        64.    In opposing the members’ claims, SAG also submitted a “Feasibility
    6 Report” by attorney Deborah Lerner, supported by, among others, Cohen Weiss &

    7 Simon, which also had been provided to all members (“Lerner Report”). The

    8 Executive Summary of the Lerner Report described the report as “a review of the

    9 feasibility of combining [the respective health benefit plans]” that consisted of “a

   10 thorough legal analysis by [Lerner] . . . as well as correspondence from [several

   11 other experts],” described as being “among the most experienced ERISA attorneys

   12 in the country . . . .” Feasibility Review at 2. The Executive Summary stated that,

   13 “[t]ogether[,] these experts conclude[d]” among other things, “[w]hile the merger of

   14 the Unions would not automatically result in the immediate combination of the

   15 [benefit] plans, [a] Union merger would facilitate the possibility of doing so if it is

   16 in the interests of the participants.” Id.

   17         65.   The Lerner Report “provide[d] a general overview of the issues and
   18 likely legal impact on the pension and health plans of… [SAG and AFTRA] in the

   19 event the two Unions merge[d]” addressed “what, if any, merger plan can be

   20 achieved which will satisfy the requirements of the law and the protection of all

   21 eligible members against loss of benefits, presently or in the future.” The Lerner

   22 Report noted that while “a health plan generally may reduce participants’ benefits or

   23 increase employee premiums for coverage subject only to certain advance notice

   24 requirements[,] . . . [a] merger of health plans may be effected for the purpose of

   25 preventing future benefit cuts and strengthening the contribution base of the

   26 combined plan[.]” The Lerner Report also observed that “a plan merger would

   27 eliminate the problems of many individuals who work under the jurisdiction of both

   28

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    1 Unions but have insufficient covered earnings under either health plan to qualify for

    2 benefits[,]” and that “[t]he basic fiduciary analysis used to determine whether or not

    3 two health plans should be merged is similar although not identical to that used for

    4 pension plans.” Lerner Report at 1, 9. In this regard, the Lerner Report stated:

    5         Acting as plan fiduciaries, a majority of the trustees of each plan would
    6
              have to conclude separately that a merger would be in the best interests
              of their plan participants. This would require each board to study the
    7         economic impact of merging the plans in comparison to the impact of
    8         letting each plan to continue on a stand-alone basis. Such an analysis
              required a detailed study, by each fund’s actuary, in consultation with
    9         the other professional advisors and the fund staff, to determine the
   10         likely financial impact of each alternative. Because there is no legal
              requirement multiemployer plans be merged merely because the
   11         sponsoring Union of such plans has merged with another Union, each
   12         plan’s board of trustees is free to accept or reject any merger proposal.
        Id. at 5-6 (emphasis in original, footnotes omitted). The Lerner Report stated that
   13
        when the plan documents provide that the plan trustees are subject to ERISA
   14
        fiduciary duties, ERISA fiduciary duties apply. Id. at 5 & n.6 (citing DOL Field
   15
        Assistance Bulletin 2002-2).
   16
              66.   SAG additionally submitted a Declaration of SAG-AFTRA Deputy
   17

   18
        National Executive Director and General Counsel and SAG Health Plan Trustee,

   19
        Defendant Crabtree-Ireland. See Decl. of Crabtree-Ireland, Sheen v. SAG, supra

   20
        (ECF No. 33-1). Crabtree-Ireland’s Declaration included the same DOL Advisory

   21
        Opinion relating to the ERISA fiduciary duties of plan trustees in a merger cited by

   22
        SAG, supra, for support of the proposition that the plan trustees would be required

   23
        to consider all relevant information prior to implementing a plan merger, including

   24 the impact of the merger and future financial viability of a merged plan. Id. ¶ 10.

   25         67.   SAG also submitted a Declaration of David Venuti, an actuary and

   26 “frequent speaker at conferences of the International Foundation of Employee

   27 Benefit Plans… on various pension and benefits-related topics including pension

   28

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    1 plan mergers.” Decl. of Venuti ¶ 3, Sheen v. SAG, supra (ECF No. 33-10). Venuti

    2 averred the following:

    3         Multiemployer plans themselves are governed by independent joint-
    4
              boards of trustees consisting of employee and employer representatives.
              The board of trustees sets the benefit and eligibility terms of the plan.
    5         The trustees have a fiduciary responsibility under [ERISA] to act in the
    6         best interests of plan participants and beneficiaries. Any decision to
              merge the plan as approved of the terms of a plan merger is the
    7         responsibility of the board of trustees.
    8 Id. ¶ 7. Venuti further stated: “In approving a merger and the terms of the merger as

    9 they relate to future benefit levels and costs, trustees have the sole obligation to act

   10 in the best interests of plan participants.” Id. ¶ 14.

   11

   12
              68.    In early June 2016, the SAG Health Plan Trustees approved the Health
   13
        Plans Merger. The Health Plans Merger was not subject to the approval of the
   14
        participants of either plan. A report by Variety published June 8, 2016 stated that the
   15
        unified health plan would “allow SAG-AFTRA members to combine covered
   16
        earnings from all SAG-AFTRA contracts toward eligibility for coverage in a single
   17
        health plan.” 1 SAG-AFTRA President Gabrielle Carteris was quoted as saying: “Our
   18
        members deserve one outstanding health plan and this historic agreement ensures
   19
        that all earnings under our contracts now credit to a single health plan. . . . [W]e
   20
        have positioned our health plan to be financially sustainable for all members for
   21
        years to come.” SAG-AFTRA National Executive Director and SAG Health Plan
   22
        Trustee, Defendant White, was quoted as saying: “The new health plan is both
   23
        comprehensive and forward-looking. Merging these plans was a complex
   24
        undertaking and I am proud that the trustees worked together to arrive at solutions
   25

   26
        1
   27      SAG and AFTRA Health Care Plans to Merge, VARIETY (June 8, 2016), available at
        https://variety.com/2016/tv/news/sag-aftra-health-care-merge-1201791269/.
   28

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    1 that strengthen the overall financial health of the plan while ensuring comprehensive

    2 benefits for all participants.”

    3        69.    According to SAG-AFTRA, “[m]erging the health plans was one of the
    4 goals of the [Union] [M]erger, but extensive study was needed before the process of

    5 unifying the plans and funds could begin. That’s because the plans are separate

    6 from the union and not administered by the union; the boards of trustees are

    7 comprised of representatives of labor and employers who contribute to the plans.”

    8 SAG-AFTRA

    9 Mag, Vol. 5, No. 2 at 23 (Summer 2016), available at https://www.sagaftra.org/files

   10 /sag-aftra_-_summer_2016_-_member.pdf (emphasis in original).

   11        70.    In a letter to SAG-AFTRA members in the Summer of 2016, SAG
   12 Health Plan Trustee, Defendant White, stated the following:

   13        It was with extreme satisfaction that I first reported to our elected
   14
             leadership in June that the respective boards of trustees for the SAG
             Health Plan and AFTRA Health Fund voted to merge into a single
   15        health plan effective Jan. 1, 2017. This is tremendous news for our
   16        membership on many fronts. Fully 65,000 souls who depend on these
             plans will become beneficiaries of a single, financially strengthened
   17        plan that offers automatic family coverage for all participants. The
   18        merger will immediately help thousands of our members seeking
             eligibility next year who currently contend with the scourge of split
   19        earnings when working under our television agreements. The new
   20        plan will offer first-class service for participants, provided by staff
             who are being trained – right now, as I write this letter – in the various
   21        features of the new plan, many of which are similar to the current
   22        SAG Health Plan model. I hope that all of you who are interested in
             the details of the new plan were able to attend one of the many
   23        educational sessions we offered in partnership with plan staff, or that
   24        you have taken a moment to peruse the comprehensive website
             dedicated to the merged plan, sagaftrahealth.org. The establishment
   25        of this single, unified plan represents the achievement of a major goal
   26        asserted by our membership even before our unions merged. It
             provides a robust foundation of healthcare for our membership, which
   27        the trustees can continue to improve upon, nurture and grow over
   28        time.

                                                  32
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    1 Id. at 12.

    2        71.    The SAG members and the court considering members’ claims to stop
    3 the Union Merger in 2012 were told that any future merger of the benefit plans

    4 would be within the purview of the respective plan trustees, and that the trustees

    5 would consider all information in the best the interest of the participants and their

    6 beneficiaries to determine whether the benefit plans should merge, in accordance

    7 with their ERISA fiduciary duties. In June 2016 after the trustees approved the

    8 Health Plans Merger, the participants were told that the trustees had undertaken a

    9 complex and extensive process to position the health plan to be financially

   10 sustainable for all members for years to come, to ensure comprehensive benefits for

   11 all members in the merged plan, and to provide a robust foundation of healthcare for

   12 the membership which the trustees could continue to improve upon, nurture and

   13 grow over time.

   14        72.    As of December 31, 2016, according to the Form 5500 filed by the
   15 SAG Health Plan for the 2016 plan year, the SAG Health Plan had 27,271

   16 participants, and net assets of approximately $242.3 million. As of January 1, 2017,

   17 the AFTRA Health Plan had 9,711 participants and net assets of $0, including a

   18 $235.5 million transfer out of the plan. As of December 1, 2017, the SAG Health

   19 Plan had net assets of $236.1 million.

   20        73.    The historically disparate level of employer contributions between the
   21 SAG members and AFTRA members for a given earnings level has resulted in far

   22 different contributions to the health plans. Contribution levels were the same for

   23 performers under the TV/Theatrical and Commercials contracts. Currently, the rate

   24 for TV/Theatrical signatories is 19.5%, which will increase to 20% on July 1, 2021.

   25 The current rate for Commercial contract signatories is 18.5%. SAG and AFTRA

   26 broadcasters’ contribution levels differed and were between 10% and 13% under the

   27 respective applicable station contracts. This disparity continued in the merged plan.

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    1        74.   Effective January 1, 2017, the health plans were merged into the SAG-
    2 AFTRA Health Plan. Under the Restated Agreement and Declaration of Trust

    3 Establishing the SAG-AFTRA Health Fund (“SAG-AFTRA Trust Agreement”), an

    4 amendment of the SAG Trust Agreement effected by the SAG Health Plan Trustees,

    5 the merged health plan was to be governed by the SAG-AFTRA Trustee

    6 Defendants. The SAG Health Plan Trustees effected the merger and the related

    7 amendments of the SAG Health Plan Trust Agreement pursuant to their powers and

    8 duties of the trust agreement. See SAG-AFTRA Health Plan Trust Agreement at 1

    9 (“WHEREAS, the Board of Trustees of the SAG Health Fund… pursuant to Article

   10 IV, Section I of the SAG Health Fund, and the plan benefits thereunder…, with

   11 other employee welfare benefit plans; and, pursuant to Article VI, Section 1 of the

   12 SAG Trust, the SAG Board has the authority to amend the SAG Trust . . . .”).

   13        75.   The benefits provided under the merged plan continued Senior
   14 Performer Coverage for SAG and AFTRA participants. Senior Performer Coverage

   15 provided the Union health benefit to all members (and their qualified dependents

   16 and surviving spouses) who were age 65 and older, receiving a pension from either

   17 the SAG pension plan or AFTRA pension plan (if eligible for a pension from both,

   18 the member needed only be taking a pension from the SAG plan), and had a certain

   19 number of Union pension credits from years of service. Senior Performer Coverage

   20 was secondary to Medicare, unless the participant qualified for SAG-AFTRA as

   21 primary coverage through “Earned Eligibility,” based on the participant’s total

   22 earnings. A participant whose earnings included only residuals was eligible only for

   23 secondary coverage under the SAG-AFTRA Health Plan. Still, as long as the

   24 participant had at least $1 in sessional earnings during the relevant period, all

   25 earnings counted toward eligibility for SAG-AFTRA primary coverage.

   26        76.   Under the operative collective bargaining agreements, the merged
   27 health plan was funded based on all earnings of all members, regardless of the

   28

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    1 members’ age or whether the member was taking a pension from the SAG or

    2 AFTRA pension plans.

    3

    4
              77.    Contrary to the statements by SAG-AFTRA Union President Carteris
    5
        and SAG Health Plan Trustee Defendant White, the Health Plans Merger did not
    6
        “ensure[] that all earnings under our contracts now credit to a single health plan,”
    7
        “position [] our health plan to be financially sustainable for all members for years to
    8
        come,” “strengthen the overall financial health of the plan while ensuring
    9
        comprehensive benefits for all participants,” or provide “a robust foundation of
   10
        healthcare for our membership.” In fact, just three and one-half years after the
   11
        Health Plans Merger, the Union health plan stunned participants with the sudden
   12
        announcement of the draconian Benefit Cuts that would prevent thousands of
   13
        participants from obtaining the SAG-AFTRA health benefit under the operative
   14
        collective bargaining agreements by targeting participants age 65 and older.
   15
              78.    In   announcing    the   Benefit   Cuts,    the   health   plan   trustees
   16
        opportunistically and misleadingly blamed the COVID-19 pandemic for the dire
   17
        need to prevent thousands of mostly older participants from obtaining the Union
   18
        health benefit under the operative collective bargaining agreements. In early April
   19
        2020, Gabrielle Carteris and Defendant David White announced a three-month
   20
        reduction in health plan premiums and an extension of the Union dues deadline, in
   21
        response to the COVID-19 pandemic. Carteris and White stated nothing whatsoever
   22
        about looming drastic cuts to the Union health benefit structure. In fact, they stated:
   23
        “Please know that through all of this, the Union’s core functions, including residuals
   24
        processing and contract enforcement, continue. In March alone we processed
   25
        312,000 residuals checks totaling 73 million.” SAG-AFTRA COVID-19 Update:
   26
        Relief is Coming, SAG-AFTRA NEWS UPDATES (Apr. 1, 2020), available at
   27
        https://www.sagaftra.org/sag-aftra-covid-19-update-relief-coming.
   28

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    1        79.     The SAG Health Plan Trustees’ consideration, approval and
    2 implementation of the Health Plans Merger could not have been the product of a

    3 prudent process to investigate and analyze the impact of the merger on the

    4 participants and their benefits solely in the best interests of the SAG Health Plan

    5 participants and their beneficiaries. The SAG-AFTRA Health Plan Trustees knew

    6 by at least shortly after the merger in mid-2018 that the plan’s funding under the

    7 operative collective bargaining contracts would not sustain the merged plan’s

    8 benefit structure for all participants, and that without increased funding massive

    9 benefit cuts were looming. According to SAG-AFTRA Health Plan Trustee,

   10 Defendant Richard Masur in August 2020, the Benefit Cuts had been in the works

   11 for two years. SAG-AFTRA Health Plan Trustee, Defendant Barry Gordon said the

   12 trustees had worked nearly every day for two years prior to August 2020 to figure

   13 out how they could preserve the participants’ health benefits.

   14        80.     In their capacity as the administrators of the SAG Health Plan, as
   15 provided by the SAG Health Plan Trust Agreement and as represented to the

   16 members and the court in 2012, the SAG Health Plan Trustees functioned as ERISA

   17 fiduciaries in evaluating, approving and implementing the Health Plans Merger and

   18 the related amendments to the SAG Health Plan Trust Agreement. The trustees thus

   19 were required to discharge their duties solely in the interests of the participants and

   20 their beneficiaries, and for the exclusive purpose of providing benefits to

   21 participants   and their beneficiaries and defraying reasonable expenses of
   22 administering the plan, with the care, skill, prudence and diligence under the

   23 circumstances then prevailing that a prudent man acting in a like capacity and

   24 familiar with such matters would use in the conduct of an enterprise of like character

   25 and with like aims. 29 U.S.C. § 1104(a)(1)(A)(i); SAG Health Plan Trust Agreement

   26 Article IV Section 3. The SAG Health Plan SPD provided:

   27        Prudent Actions by Plan Fiduciaries: In addition to creating rights for
   28        plan participants, ERISA imposes duties upon the people who are

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    1        responsible for the operation of the employee benefit plan. The people
    2
             who operate your plan, called “fiduciaries” of the Plan, have a duty to
             do so prudently and in the interest of you and other plan participants
    3        and beneficiaries. No one, including your employer, your union, or any
    4        other person, may fire you or otherwise discriminate against you in any
             way to prevent you from obtaining benefits under the Plan or exercising
    5        your rights under ERISA.
    6 SAG-Producers Health Plan SPD at 102 (effective July 1, 2013). Under the

    7 circumstances of the merger and the related amendments, the SAG Health Plan

    8 Trustees acted as ERISA fiduciaries in exercising their powers and duties as plan

    9 trustees under the SAG Health Plan Trust Agreement to determine that the plans

   10 should combine, and to approve and implement the merger and the related

   11 amendments to the trust agreement.

   12        81.   The SAG Health Plan Trustees either: failed to conduct a prudent fully
   13 informed pre-merger investigation and analysis to assess the impact of the merger

   14 on the SAG Health Plan and its participants’ health benefits and the sustainability of

   15 the benefit structure in the merged plan; or disregarded the analysis and information

   16 revealed concerning the financial condition of the merged plan and the sustainability

   17 of the health benefit structure under the operative collective bargaining agreements,

   18 and nevertheless proceeded with the merger. A diligent pre-merger investigation and

   19 analysis would have revealed the looming peril to the benefit structure in the merged

   20 plan under the operative collective bargaining agreements. As alleged herein, the

   21 SAG-AFTRA Health Plan Trustees knew by at least mid-2018 the health benefit

   22 structure in the merged plan was not sustainable for all participants under the

   23 operative collective bargaining agreements, and that without increased funding

   24 massive cuts were looming. If the SAG Health Plan Trustees failed to conduct a

   25 prudent pre-merger evaluation, the trustees breached their ERISA fiduciary duties. If

   26 the trustees in fact knew the benefit structure would not be sustainable in the merged

   27 plan under the operative collective bargaining agreements and proceeded

   28 nevertheless, the trustees breached their ERISA fiduciary duties.

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    1        82.    As alleged above, prior to the Health Plans Merger, the contribution
    2 levels varied for SAG and AFTRA participants. The merged plan retained the

    3 disparity. The collective bargaining agreements dictate the contribution levels.

    4 Performers’ contributions are currently made at 19.5% (TV/Theatrical) and 18.5%

    5 (Commercials) of covered earnings, which include sessional and residuals earnings,

    6 while broadcasters’ contributions are made at 10-13% of current wages under the

    7 applicable station contracts.

    8        83.    By transferring the plan’s $242.3 million of assets (as of December 31,
    9 2016) in connection to the plan merger, the SAG Health Plan Trustees were not

   10 acting solely in the interests of the SAG Health Plan participants and their

   11 beneficiaries. The Health Plans Merger deployed these assets despite that such

   12 decision was not made in the sole interest of, and to provide benefits to, the SAG

   13 Health Plan participants and their beneficiaries.

   14

   15        84.    The Benefit Cuts were described to participants in a booklet titled:
   16 “Changing for our Future, Together.” SAG-AFTRA Health Plan Newsletter,

   17 available     at https://documents.viabenefits.com/website/sagaftrahp/SAG-AFTRA-
   18 Newsletter.pdf. On the page titled “A quick look at what’s changing,” the Pamphlet

   19 states: “Our Plan changes will mean different things for different people. To learn

   20 about all the details, jump to the section(s) that best describe you.”

   21        85.    The Benefit Cuts targeted participants age 65 and older based on age to
   22 prevent these participants from obtaining the Union health benefit. Under the

   23 Benefit Cuts, Senior Performer Coverage, which entitled participants (and their

   24 dependents and surviving spouses) to a lifetime SAG-AFTRA health benefit at age

   25 65 upon accruing 20 years of vested pension service (or fewer years of pension

   26 credit in certain circumstances), was eliminated and taken from participants who had

   27 accrued and were using it, and was taken from surviving spouses who had been

   28 unconditionally promised it. Employers, however, will continue to contribute to the

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    1 health plan based on all earnings of these participants, and the Union dues of

    2 participants will continue to be assessed based on all earnings of these participants.

    3        86.    Changes to earnings-based eligibility for participants also targeted
    4 participants age 65 and older to prevent these participants from obtaining the Union

    5 health benefit. For all participants under age 65 whether or not taking a pension, all

    6 earnings are counted toward eligibility for the Union health benefit. For participants

    7 65 years of age and older and not taking a pension, all earnings are counted until

    8 they take a Union pension, so long as the participant has at least $1 in sessional

    9 earnings in the period. For participants age 65 and older who are taking a Union

   10 pension, only sessional earnings count toward eligibility for the Union health

   11 benefit, yet employers will continue to contribute to the Health Plan based on all

   12 earnings (sessional and residuals) of these participants, and the Union dues, federal

   13 and state income taxes and premiums for health coverage will continue to be

   14 assessed based on all earnings of these participants.

   15        87.    The participants who had been entitled to Senior Performer Coverage
   16 and are no longer eligible for the Union health benefit were directed to a private

   17 market broker: Via Benefits. The Pamphlet read: “Effective January 1, 2021,

   18 medical, behavioral health, vision and prescription drug coverage through the SAG-

   19 AFTRA Health Plan will no longer be offered. Instead, Senior Performers/surviving

   20 spouses will have new, expanded options through the Via Benefits private Medicare

   21 marketplace, including dental and vision coverage.” It further stated:

   22        The SAG-AFTRA Health Fund will partner with the Via Benefits
   23        Medicare marketplace plans to supplement health coverage for
             unmarried Medicare-eligible surviving spouses of Senior Performers
   24        through an annual financial allocation into the new SAG-AFTRA
   25        Health Plan Senior Performers Health Reimbursement Account, or
             “HRA.” If you enroll in coverage through Via Benefits, you will
   26        receive $1,140.00 annually to pay for eligible health care expenses.
   27 The elimination of Senior Performer Coverage has forced senior performers to

   28 obtain coverage under the Via Benefits (or other private market alternatives), which

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    1 will cost many performers and their dependents and surviving spouses up to four

    2 times more than the SAG-AFTRA health benefit provided to them for decades. The

    3 price of this new, individual coverage varies depending on a senior performer’s total

    4 earnings (residuals included). The employer contributions which fund the health

    5 plan will also continue to base contribution amounts on a participant’s total

    6 earnings.

    7        88.    Via Benefits is a commercial broker that receives a sales commission
    8 for each plan sold. Prior to announcing the Benefits Cuts, the plan had already

    9 provided participant information to Via Benefits. The plan steered participants to

   10 Via Benefits, despite other options including the Motion Picture Television Fund

   11 and The Actors Fund. The Pamphlet did not disclose these other options, instead

   12 stating that the participant would be eligible for the annual $1,140 “[i]f [they] enroll

   13 in coverage through Via Benefits.”

   14        89.    In addition, the Benefit Cuts immediately set the base earnings year for
   15 all participants 65 years of age or older to October 1-September 30. Prior to the

   16 Benefit Cuts, base earnings years were either: January 1-December 31; April 1-

   17 March 31; July 1-June 30 or October 1-September 30. The trustees knew the Covid-

   18 19 pandemic had limited sessional opportunities for participants and the Benefit

   19 Cuts required $25,950 of yearly sessional earnings to qualify for SAG-AFTRA

   20 health coverage. The change unfairly limited the time for these affected older

   21 participants to urgently pursue sessional opportunities. The Benefit Cuts also set the

   22 benefit period for all participants 65 and older to January 1 – December 31. This

   23 took pre-qualified, already paid for coverage from some affected participants. The

   24 base earnings year for participants younger than 65 remained unchanged. The

   25 purported reason for the change was to co-ordinate with the Medicare enrollment

   26 period. This is non-sensical, as any participant who loses SAG-AFTRA coverage

   27 can enroll in Medicare at any time. Further, in announcing the COVID-19-based

   28 reduction of health plan premiums and extension of the Union dues deadline,

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    1 Carteris and White gave no warning whatsoever to these participants to get sessional

    2 work in view of the looming dramatic changes to the Union health benefit structure.

    3        90.   The SAG Age & Service criteria to establish eligibility for participants
    4 40 years or older has been eliminated. The Age & Service covered earnings

    5 threshold increased from $13,000 to $25,950. The covered earnings threshold for

    6 Plan II participants increased substantially from $18,040 to $25,950. The alternative

    7 days eligibility threshold increased from 84 days to 100 days worked under

    8 specified contracts during a participant’s base earning period.

    9        91.   The Benefit Cuts also substantially increased premium costs to
   10 participants beginning January 1, 2021. Participant-only quarterly cost increased

   11 from $300 per quarter to $375; participants with one dependent increased from $348

   12 per quarter to $531; and participants with two or more dependents increased from

   13 $375 per quarter to $747.

   14        92.   Also included in the disclosure of the Benefit Cuts to the members was
   15 the required Section 1557 Non-discrimination Notice: “The SAG-AFTRA Health

   16 Plan complies with applicable federal civil rights laws and does not discriminate on

   17 the basis of race, color, natural origin, age, disability or sex. The SAG-AFTRA

   18 Health Plan does not exclude people or treat them differently because of race, color,

   19 national origin, age, disability or sex.” Section 1557 is the non-discrimination

   20 provision of the Affordable Care Act, 42 U.S.C. §18116(a). This representation was

   21 false. As alleged herein, the Benefit Cuts targeted and discriminate against

   22 participants age 65 years and older to prevent them from obtaining the Union health

   23 benefit based on their age, while employers will continue to contribute to the health

   24 plan under the operative collective bargaining agreements based on all earnings of

   25 these participants, and Union dues will continue to be assessed based on all

   26 earnings.

   27

   28

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    1        93.     Following the Health Plans Merger, the health plan was administered
    2 by the SAG-AFTRA Board of Trustees. The trustees were bound by their fiduciary

    3 duties provided for by ERISA, including the duty to disclose material information in

    4 communications regarding plan assets and benefits to the plan participants and their

    5 representatives, particularly in circumstances where the failure to disclose

    6 information is materially misleading.

    7        94.     The SAG AFTRA Health Plan Trustees knew the participants had been
    8 told in June 2016 that the Health Plans Merger would strengthen the financial

    9 sustainability of the plan for all members for years to come, ensure comprehensive

   10 benefits for all participants and provide a robust foundation of healthcare for our

   11 membership. As alleged above, however, the SAG-AFTRA Health Plan Trustees

   12 knew for at least two years by mid-2018 that the merger neither strengthened the

   13 plan’s financial sustainability for all members for years to come nor ensured

   14 comprehensive benefits for all participants, that the merged plan’s benefit structure

   15 was not sustainable under the operative collective bargaining agreements, and that

   16 massive benefit cuts to drop thousands of participants from the Union health benefit

   17 loomed without increased funding. Trustee Richard Masur stated the Benefit Cuts

   18 were in the works for two years, and trustee Barry Gordon said the trustees had

   19 worked nearly every day for two years trying to figure out how they could preserve

   20 the health benefit. In addition, the SAG-AFTRA Health Plan Trust Agreement

   21 required     the trustees to receive and evaluate projections concerning the
   22 sustainability of the benefit structure at every meeting. Article XIII of the SAG-

   23 AFTRA Health Plan Trust Agreement required the trustees to engage a Benefit

   24 Consultant and to “at all times endeavor to maintain twelve (12) months of [benefit

   25 and administrative expenses, as projected by the Benefit Consultant, that the plan’s

   26 reserves will fund the plan of benefits and its operations],” and to receive and

   27 evaluate projections at every board meeting. Article XIII, Section 2.

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    1         95.    The collective bargaining agreements negotiated to fund the SAG-
    2 AFTRA Health Plan with employer contributions based on all earnings of

    3 participants are the most vital part of the health plan’s funding. Article I Section 8 of

    4 the SAG-AFTRA Trust Agreement provides:

    5         Any such Collective Bargaining Agreement shall be deemed to
    6
              incorporate, specifically, the terms and conditions of… [the SAG-
              AFTRA Trust] Agreement, and by executing such Collective
    7         Bargaining Agreement, each Employer that is a party to such
    8         agreement thereby agrees to comply with, and be bound by, each and
              every provision of the SAG-AFTRA Health Fund and… [the SAG-
    9         AFTRA Trust] Agreement (as such documents may be amended from
   10         by the [SAG-AFTRA Health Plan Board of Trustees] from time to
              time.
   11
        The negotiated contributions are based on all earnings of all members, regardless of
   12
        the member’s age or whether the member is taking a SAG or AFTRA pension.
   13
              96.    Article V of the SAG-AFTRA Trust Agreement requires employers to
   14
        contribute to the SAG-AFTRA Health Plan in the amounts required by the
   15
        negotiated collective bargaining contract between the Union and the employer.
   16
              97.    The contract negotiations determine the value of the package of
   17
        elements provided to members for their work as performers, including the amount of
   18
        new money, the amount of contributions by employers to the benefit plans based on
   19
        members’ earnings, and potential diversions of wage increases. Diversions are
   20
        commonly included and permit the Union board to divert a portion of the negotiated
   21
        wage increases to other funding such as the health plan. It is thus vital to the funding
   22
        of the health plan and the efficacy of the negotiations for the participants and their
   23
        beneficiaries that the Union negotiators, who by law are the fiduciary
   24
        representatives of the health plan participants, are fully informed concerning all
   25
        information material to the members’ stake in the contracts, including their Union
   26
        health benefit and the funding of the health plan to be made by the employer
   27
        contributions based on their earnings.
   28

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    1        98.   It is evident that the funding under the operative collective bargaining
    2 agreements at the time of the Health Plans Merger was insufficient to sustain the

    3 health benefit structure for all participants, a fact known by the SAG-ATRA Health

    4 Plan Trustees by mid-2018. The three major collective bargaining agreements were

    5 negotiated and approved in the two-year period, during which the health plan

    6 trustees knew but did not disclose the funding needed to sustain the health benefit

    7 structure, that the negotiated terms were not sufficient to fund the health benefit

    8 structure for all participants, and that massive cuts loomed to drop thousands of

    9 participants from the Union health benefit without increased funding.

   10        99.   The “Commercials” contract, negotiated from February to March 2019,
   11 was presented to the SAG-AFTRA National Board members, some of whom were

   12 also SAG-AFTRA Health Plan Trustees, for approval. The Commercial contract

   13 was subsequently put to a membership vote and approved in April 2019. The

   14 contract is dated March 31, 2019.

   15        100. The “Netflix” contract was negotiated by SAG-AFTRA staff
   16 negotiators and presented to the full SAG-AFTRA negotiating team in the Summer

   17 of 2019 for approval. The contract was thereafter presented for approval to the

   18 SAG-AFTRA National Board members, some whom were also SAG-AFTRA

   19 Health Plan Trustees. The Netflix contract was not put to a membership vote.

   20        101. The “TV/Theatrical” contract was negotiated in the April-June 2020
   21 period and, on June 29, 2020, presented to the SAG-AFTRA National Board for

   22 approval. The TV/Theatrical contract was put to a membership vote and approved

   23 in July 2020.

   24        102. SAG-AFTRA Health Plan Trustees David White and Ray Rodriguez
   25 (Chief Contracts Officer) were the lead negotiators on all three contract

   26 negotiations. Four trustees – Defendants David White, Ray Rodriguez, Linda Powell

   27 and Michael Pniewski - participated in the negotiation or approval of the 2020

   28 TV/Theatrical and Netflix contracts. The Netflix contract was negotiated by the

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    1 union contract staff only, Defendants David White and Ray Rodriguez, who

    2 presented the negotiated terms to the full Union negotiating team for approval. The

    3 members of the TV/Theatrical negotiating committee included Defendants Powell

    4 and Pniewski. Many members of the management negotiating committee for the

    5 TV/Theatrical contracts were health plan trustees, including Defendant Carol

    6 Lombardini and several others. The Commercials contract management negotiators

    7 were also health plan trustees, including Defendant Stacey Marcus. Health plan

    8 trustee Defendant David Hartley-Margolin also participated in the negotiations

    9 concerning the Commercials contract. Yet, none of these individuals disclosed to

   10 any of the other members of the Union negotiating committee, the Union National

   11 Board that approved the contracts or the membership, the funding needed to sustain

   12 the benefit structure, that the negotiated contract terms were insufficient to sustain

   13 the health benefit structure for all participants or that massive cuts were coming to

   14 drop thousands of participants from the Union health benefit without increased

   15 funding. Notably, the theme of the TV/Theatrical negotiations was “Do no harm.”

   16 Moreover, the health plan trustees who participated without disclosing the material

   17 information further misled the participants and their representatives by themselves

   18 approving and voting to approve the insufficient contracts.

   19        103.   Further, postcards were sent to the membership by the Union urging
   20 members to approve the TV/Theatrical contract. The post cards urged “Vote Yes”,

   21 touting “transformative gains”, increase of “up to $54 million” to the Health Plan

   22 and “26% increase in fixed streaming residuals”. The membership was not informed

   23 the up to $54 million was insufficient to sustain the health benefit or that residuals

   24 earnings would no longer count toward covered earnings for health coverage of

   25 Retirees.

   26        104. Similarly, an April 2, 2019 report by SHOOTonline quoted several of
   27 the Union negotiators on the Commercials Contract as follows:

   28        SAG-AFTRA president and Negotiating Committee chair Gabrielle
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    1        Carteris said the tentative agreement delivers essential gains while
    2
             positioning performers and the industry for growth in a rapidly
             changing environment.
    3
             “This agreement represents a real step forward for actors in this space.
    4        It modernizes the commercials contracts making them more relevant to
             the industry now and into the future. It is a monumental advancement
    5
             in growing our jurisdiction. We are proud to have helped create this
    6        important benchmark that clearly speaks to the needs of the
             membership and the evolution of our industry,” Carteris said. “I also
    7
             want to congratulate the members of the negotiating committee for
    8        their foresight, hard work and diligence. I particularly wish to
             recognize chief negotiator David White and chief contracts officer Ray
    9
             Rodriguez for their ferocious advocacy on behalf of SAG-AFTRA
   10        members.”
   11        Joint Policy Committee chief negotiator Stacy Marcus said, “The
             members of our respective committees worked cooperatively to address
   12
             the serious needs of both the industry and the SAG-AFTRA
   13        membership. The result of that hard work and committed partnership is
             a landmark agreement that protects industry and member interests,
   14
             while creating a structure that will also grow the opportunities for years
   15        to come. Both the industry and SAG-AFTRA should be proud of their
             collective accomplishment.”
   16
             SAG-AFTRA national executive director and chief negotiator David
   17
             White said, “President Carteris and this member negotiating committee
   18        worked diligently for more than two years to prepare and negotiate this
             transformative agreement. Representing members from across the
   19
             country, they worked relentlessly to design real solutions to the
   20        challenges facing the advertising industry. I also want to recognize the
             extraordinary work of the negotiations staff, in particular chief
   21
             contracts officer Ray Rodriguez, chief economist David Viviano,
   22        associate national executive director Mathis Dunn, sr. advisor John
             McGuire and executive director of commercials contracts Lori Hunt.
   23
             Working alongside dozens of our exceptional colleagues, this team
   24        brought passion, diligence and an aggressive pursuit of members’
             interests to this negotiation, and their efforts will benefit our
   25
             membership for generations to come.”
   26 SAG-AFTRA,       JPC    Reach    Tentative     Deal   On    Commercials     Contracts,
   27 SHOOTONLINE (Apr. 2, 2019).

   28

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    1        105. The SAG-AFTRA Health Plan Trustees knew but did not disclose to
    2 the health plan participants or their representatives in connection with the

    3 negotiations or approvals of the contracts: the funding needed to sustain the Union

    4 health benefit structure for all participants; that the negotiated contract terms were

    5 insufficient to sustain the health benefit structure for all participants; and that

    6 massive cuts to eliminate thousands of participants from the Union health benefit

    7 were coming without increased funding. Several SAG Health Plan Trustees actually

    8 participated as Union negotiators on behalf of the participants, and failed to disclose

    9 the material information and approved the negotiated terms. Further, the health plan

   10 trustees who were members of the SAG-AFTRA National Board did not disclose the

   11 information to other board members, did not abstain or recuse themselves from the

   12 approval votes, and voted to approve the insufficient terms of the contracts.

   13        106. Under the circumstances, the withheld information concerning needed
   14 funding to sustain the benefit structure, the insufficiency of the negotiated contract

   15 terms to sustain the health benefit structure and the coming massive cuts without

   16 increased funding was material to the plan participants and their representatives in

   17 the negotiations and approvals of the contracts. The health plan trustees’ failure to

   18 disclose the information, and the participation by the health plan trustees in the

   19 negotiations and approvals of the contracts without disclosure, were materially

   20 misleading to the participants and their representatives. Possessed of the withheld

   21 material information, the Union negotiating team could have directed and/or

   22 negotiated much more money into the SAG-AFTRA Health Plan had the team

   23 known the funding required to sustain the health benefit and eligibility of

   24 participants for coverage. Likewise, possessed of the withheld information,

   25 members could have made informed decisions concerning the value of the package

   26 to them, in voting on the contracts. The failure to disclose this information to the

   27 Union negotiating team and the voting National Board and membership was

   28

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    1 materially misleading and constituted a breach of the SAG-AFTRA Health Plan

    2 Trustees’ ERISA fiduciary duty to disclose material information to the plan and the

    3 participants concerning plan assets and benefits, particularly where, as here, the

    4 failure to disclose while negotiating and voting to approve the contracts was

    5 materially misleading, given the contracts were inextricably related to the Union

    6 health benefit and funding of the health plan.

    7        107. The membership was notified of the Benefit Cuts on August 12, 2020.
    8 The SAG-AFTRA National Board was informed on August 11, 2020. In a webinar

    9 with the National Board, SAG-AFTRA Health Plan CEO Michael Estrada said that,

   10 without the Benefit Cuts, the plan would deplete its “crucial reserve” by 2024. This

   11 crucial reserve was funded in part by participants who will lose the Union health

   12 benefit under the Benefit Cuts.

   13        108. In Zoom conferences with members following the August 2020
   14 announcement of the Benefit Cuts, plan CEO Michael Estrada and Defendants

   15 White, Masur and Gordon, effectively confirmed the materiality of the withheld

   16 information. According to an August 18, 2020 report in Deadline, Estrada, White,

   17 Masur and Gordon told members employer contributions under the Union collective

   18 bargaining agreements had not kept up with the cost of health coverage to the

   19 33,000 participants and their 32,000 family members. SAG-AFTRA Health Plan

   20 Trustees Say Employer Contributions Haven’t Kept Up With Soaring Health Care

   21 Costs, DEADLINE (Aug. 18, 2020).

   22

   23

   24

   25

   26        109. As alleged above, the SAG Health Plan Trust Agreement required the

   27 plan trustees to maintain the health plan and any amendments in compliance with all

   28 applicable positive law: Article VI, Section 2, provided: “It is the intention of the

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    1 parties that the Health Plan and any and all amendments thereto shall at all times . . .

    2 [b]e and remain in compliance and conformity with all applicable laws and

    3 regulations, including but not limited to all applicable provisions of the Labor

    4 Management Relations Act and any other applicable valid federal or state laws or

    5 rules or regulations . . . .”

    6        110.    The SAG Health Plan Trust Agreement also prohibited amendments
    7 and changes to the Health Plan that would alter the basic principles of the

    8 agreement, conflict with collective bargaining contracts or contravene applicable

    9 positive law. Article VIII Section 2, provided:

   10         No amendment of or change in the Health Plan may be adopted which
   11         will alter the basic principles hereof or be in conflict with the then
              existing collective bargaining agreements or contrary to any applicable
   12         law or governmental rule or regulation. No amendment may be adopted
   13         which will cause any of the assets of the Health Fund to be used for or
              diverted to purposes other than those herein authorized or which will
   14         retroactively deprive any person of any vested benefit; except any
   15         amendment may be made which is required as a condition to obtaining
              or retaining the approval of the Health Plan by the Internal Revenue
   16         Service under the Internal Revenue Code or the Franchise Tax Board
   17         under the California Revenue and Taxation Code as either are now in
              effect or hereafter amended to the end that any contributions made to
   18         the Health Fund by the Producers are deductible for federal income tax
   19         and California state franchise tax purposes.
   20         111. The SAG Health Plan Trust Agreement deemed invalid and ineffective

   21 any action by the trustees to interpret the Health Plan so as to contravene applicable

   22 positive law or as to exceed the powers of the trustees under the trust agreement.

   23 Article VIII Section 11, provided: “No action determined by the vote of the Plan

   24 Trustees, directly or through the vote of an umpire as herein contemplated, shall be

   25 valid or effective which shall interpret or apply any provisions of the Health Plans in

   26 any manner or to any extent so as to be contrary to any applicable law or

   27 governmental rule or regulation or which would exceed the powers given to the Plan

   28 Trustees as set forth hereunder or change or enlarge the express purpose hereof.”

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    1         112. The SAG-AFTRA Health Plan Trust Agreement is an amendment of
    2 the SAG Health Plan Trust Agreement and, as such required the SAG Health Plan

    3 Trust Agreement, requires the plan to be managed and administered in compliance

    4 with plan documents, ERISA, the Internal Revenue Code and other applicable law.

    5 Article II Section 2 of the SAG-AFTRA Trust Agreement provides:

    6         Purpose. The Health Fund is established for the exclusive purpose of
    7
              providing certain health and welfare benefits (which may include
              medical, death, and other related benefits that may be provided by an
    8         organization exempt from income tax under Code Section 501(a) by
    9         virtue of being an organization described in Code Section 501(c)(9)) to
              Participants and their Beneficiaries, and shall further provide the means
   10         for financing and maintaining the operation and administration of the
   11         Health Fund and the Plan in accordance with this Agreement, the Plan,
              ERISA, the Code and other applicable law.
   12
              113. Article XIV Section 2 of the SAG-AFTRA Trust Agreement provides:
   13
        “Choice of Law. This Agreement and the Health Fund created hereby shall be
   14
        construed, regulated, enforced and administered in accordance with the internal laws
   15
        of the State of California applicable to contracts made and to be performed within
   16
        the County of Los Angeles (without regard to any conflict of laws provisions), to the
   17
        extent that such laws are not preempted by the provisions of ERISA (or any other
   18
        applicable laws of the United States).”
   19
              114. Article XIV Section 11 of the SAG-AFTRA Trust Agreement provides:
   20
        “Construction. Anything in this Agreement, or any amendment hereof, to the
   21
        contrary notwithstanding, no provision of this Agreement shall be construed so as to
   22
        violate the requirements of ERISA, the Code, or other applicable law.”
   23
              115. The SAG-AFTRA Trustee Defendants’ fiduciary duties under ERISA
   24
        required the trustees to administer and manage the plan in compliance with positive
   25
        law and in accordance with the documents that govern the plan. The approval and
   26
        implementation of the illegal Benefit Cuts constituted breaches of the SAG-AFTRA
   27
        Health Plan Trustees’ fiduciary duty to do so.
   28

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    1         116. The Summary Plan Description of the SAG-AFTRA Health Plan is a
    2 plan document and includes “Prudent Actions Required of Plan Fiduciaries.” SAG-

    3 AFTRA SPD at 95 (effective Jan. 1, 2021). The SPD states:

    4         In addition to creating rights for plan participants, ERISA imposes
    5         duties upon the people who are responsible for the operation of the
              employee benefit plan. The people who operate your Plan, called
    6         “fiduciaries” of the Plan, have a duty to do so prudently and in the
    7         interest of you and the other plan participants and beneficiaries. No
              one, including your employer, your union or any other person, may fire
    8         you or otherwise discriminate against you in any way to prevent you
    9         from obtaining benefits under the Plan or exercising your rights under
              ERISA.
   10
        Id.
   11
              117. By targeting participants age 65 and older to prevent these participants
   12
        from obtaining the Union health benefit based on age, the SAG-AFTRA Health Plan
   13
        Trustees breached their ERISA fiduciary duty to administer the plan in accordance
   14
        with the documents that govern the plan, including the trust agreement and the SPD.
   15
              118. The Benefit Cuts targeted and discriminated based on the age against
   16
        participants age 65 and older, in several ways. First, Senior Performer Coverage
   17
        applied to participants age 65 and older with qualifying vested pension credit, which
   18
        are years of work already irrevocably achieved. This provided a lifetime SAG-
   19
        AFTRA health benefit to the participants and dependents and surviving spouses. In
   20
        addition, the notices to surviving spouses unconditionally promised coverage until
   21
        death or remarriage of the surviving spouse. The Benefit Cuts eliminated Senior
   22
        Performer Coverage for participants and their surviving spouses.
   23
              119. Second, the earnings-based eligibility for the Union health benefit
   24
        discriminates based on age. All earnings of participants younger than 65 count
   25
        toward health benefit eligibility, regardless whether the participant is taking a Union
   26
        pension. All earnings of participants age 65 and older count toward Union health
   27
        benefit eligibility only if the participant has at least some sessional earnings. No
   28

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    1 residuals earnings of participants age 65 and older and taking a Union pension count

    2 toward Union health benefit eligibility, yet employers will continue to contribute to

    3 the health plan based on all earnings of these participants under the collective

    4 bargaining agreements, and the Union dues of these participants will continue to be

    5 assessed based on all earnings.

    6        120. Further, the disparity in contribution rates between performers and
    7 broadcasters will result in broadcasters qualifying for coverage based on far lower

    8 contributions. For example, a broadcaster with $26,000 in earnings will have

    9 contributions made as low as $2,600 and still be eligible for health coverage. A

   10 performer with just $20,000 in earnings, however, will have contributions made of

   11 approximately $4,000 and will not be eligible for health coverage. In other words,

   12 broadcasters will qualify, while performers who have had higher contributions to the

   13 plan than the broadcaster will not.

   14        121. Following the Benefit Cuts, Commercials performers age 65 and older
   15 will have no practical ability to obtain the Union health benefit, as the

   16 overwhelming majority of their earnings come from residuals. The current

   17 commercial day rate is $712, meaning it would take 37 days (commercials) for a

   18 participant 65 and older who is taking a pension to get the Union health benefit. On

   19 average, a good year for a commercial actor would be approximately five

   20 commercials. Accordingly, for all practical purposes, no participant age 65 and older

   21 taking a pension will ever again obtain the SAG-AFTRA health benefit.

   22        122. Third, the base earnings year for all participants 65 years of age and
   23 older was immediately set to October 1-September 30. This unfairly limited the time

   24 for affected older participants from seeking opportunities urgently for sessional

   25 earnings, when the trustees knew sessional opportunities had been limited by the

   26 Covid-19 pandemic. The benefit period for all participants 65 and older was set to

   27 January 1 - December 31. The change also took pre-qualified coverage from some

   28

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    1 participants 65 and older. Plaintiff, David Jolliffe, lost three months of coverage for

    2 which he had already qualified.

    3        123. The operative collective bargaining agreements fund the health plan
    4 based on all earnings of all members, regardless of the member’s age or whether the

    5 member is taking a SAG or AFTRA pension. Members’ Union dues likewise are

    6 assessed based on all earnings of the member. State and federal tax too are assessed

    7 based on all earnings as are premiums for health coverage. Union members pay dues

    8 to the Union assessed based on all earnings of the member as a performer. The

    9 operative collective bargaining agreements determine the compensation paid to the

   10 member performers in exchange for their work, including wages, working

   11 conditions and employer contributions to the Union benefit plans based on all their

   12 work and earnings. Employer contributions to the health plan are based on all

   13 earnings of a member, regardless of the member’s age or whether the member is

   14 taking a SAG or AFTRA pension from the separate jointly-trusted pension plans.

   15 State and federal income taxes also are assessed based on all earnings of a member

   16 performer, as is a premium for health coverage in the marketplace.

   17        124. The residuals earnings of SAG-AFTRA members are earnings from the
   18 members’ work under the Union contracts. Residuals earnings are compensation

   19 paid to performers for use of a theatrical motion picture, television program and

   20 commercials beyond the use covered by performer’s initial compensation. Residuals

   21 include payments made for free TV, basic cable, video/DVD, New Media and

   22 theatrical productions. Residuals have historically been the subject of difficult fights

   23 and strikes to maintain and increase the important source of income. According to

   24 SAG-AFTRA: “Oftentimes, residuals linked to the continued exhibition of Union

   25 projects are the ‘long tail’ of income for performers and their heirs.” 2 Residuals are

   26
        2
   27      Residuals Claims Connects with You, SAG-AFTRA (May 23, 2018), available at
        https://www.sagaftra.org/residuals-claims-connects-you
   28

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    1 a vital part of a member’s earnings, continuing to the participant’s heirs and

    2 beneficiaries even after death.

    3         125. Likewise, all earnings of all Union members are treated identically for
    4 the vital funding of the health plan. Under the current and past contracts, employers

    5 pay the exact same contribution rate (for a given corresponding earnings period) on

    6 residuals earnings as sessional earnings.

    7         126. Moreover, the participants who are 65 and older and taking a SAG or
    8 AFTRA pension and losing the SAG-AFTRA health benefit have funded what the

    9 plan’s CEO calls the “fund reserve.” An August 25, 2020 report in “Deadline”

   10 quoted SAG-AFTRA Health Plan CEO Michael Estrada, speaking and answering

   11 questions in an informational webinar to SAG-AFTRA members in August 2020. 3

   12 Quoting Estrada, Deadline report stated:

   13         “Our trustees must manage the money coming into the Plan, and the
   14
              money going out to pay for skyrocketing health care costs,” Estrada
              said. “It would be nearly impossible for a health care plan like ours to
   15         perfectly maintain that balance every year, and that’s why the Health
   16         Plan maintains a fund reserve. Think of this reserve as the Plan’s
              savings account. This reserve is absolutely critical to the long-term
   17         sustainability of our Health Plan, and is designed to help the Plan
   18         continue to pay for the health care needs of our participants, even in
              years when our revenue is lower than expected or our participants’
   19         health care costs are higher than expected.”
   20         The SAG-AFTRA Health Plan, which came into existence in 2017 with
              the merger of the old SAG and AFTRA health funds, recorded an $18
   21
              million surplus that first year, as revenue sources were greater than
   22         expenses. “Another way to think about the surplus is that we added $18
   23
              million to our savings account, which at the end of 2017 totaled about
              $500 million,” he said.
   24
              In 2018, the Health Plan experienced its first deficit – $48 million.
   25         “Our income was lower than expected, and health care costs for our
   26   3
        SAG-AFTRA Health Plan CEO Michael Estrada Describes “Perfect Storm” That Required
   27 Action  To Save Plan, DEADLINE (Aug. 25, 2020), available at https://deadline.com/2020/08/sag-
      aftra-health-plan-ceo-benefits-changes-perfect-storm-1203023261/.
   28

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    1        participants were higher than expected,” he said. “Since expenses were
    2
             higher than our income, we had to use about 10% of our reserves to pay
             for our participants’ health care expenses.
    3
             “Last year, our Health Plan had another deficit – of $50 million. In
    4        2019, our income was actually higher than projected, but our expenses
             were even higher than that due to skyrocketing health care costs.”
    5
             This, he said, “was further proof that the Health Plan was facing a
    6
             structural issue, where health care expenses for our participants were
    7        far exceeding revenue coming into the Plan.” To address the problem,
             the trustees implemented changes that took effect this year to help
    8
             balance the plans’ books. But then the shutdown hit, and for the past
    9        five-plus months of the pandemic, employer contributions have all but
             dried up.
   10
             “Our trustees are continuously reviewing projections and possible
   11        changes to Plan benefits,” Estrada said. “And in the middle of 2019 –
   12        just seven months after the 2018 deficit and before realizing the full
             2019 deficit – the trustees announced several benefit changes that went
   13        into effect in 2020 that would help address these deficits. In addition to
   14        the automatic annual 2% increase to eligibility thresholds, the trustees
             also reduced out-of-network co-insurance, increased out-of-pocket
   15        maximums, and made changes to our prescription drug benefit.
   16        “As we ended 2019 and entered 2020, the Health Plan had reduced the
   17        size of its critical reserves by about 20% – or $100 million. And the
             trustees were beginning to evaluate the impact from the benefit changes
   18        that had just been implemented, as well as continuing their evaluation
   19        of several options for addressing the structural deficits that were now
             facing the Health Plan. And then the unthinkable happened – the
   20        outbreak of COVID-19 and the resulting production shutdown. So
   21        while the trustees took immediate steps to help our participants,
             including a 50% reduction in second quarter premiums – the production
   22        shutdown is having a significant negative impact on employer
   23        contributions coming into the Plan. This truly is a perfect storm of
             increasing costs and reduced contributions, making our projected
   24        deficits even worse. This year, we are projecting deficits of $141
   25        million because of continued high health care costs and lost
             contributions, which is our primary source of income.
   26
             “In 2021, our actuaries are also projecting the Plan to have a deficit of
   27        $83 million. And if the trustees didn’t adopt structural changes, the
   28        deficits would continue and the Plan would run out of its crucial

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    1         reserves by the year 2024. It was unequivocally clear to our trustees,
    2
              that in order to safeguard our Health Plan, they needed to be proactive
              and implement structural changes for the benefit of our current, as well
    3         as our future, participants. Delayed action would only make the
    4         situation worse. Our trustees have made the very difficult, but
              absolutely necessary decision, to make structural changes to our Health
    5         Plan. As a result of these changes, the Health Plan is now projected to
    6         run surpluses, and begin rebuilding our critically important fund
              reserve in order to safeguard our Health Plan – not only to pay for the
    7         health needs of current participants, but also the health needs of future
    8         participants and their families.”
        SAG-AFTRA Health Plan CEO Michael Estrada Describes “Perfect Storm” That
    9
        Required Action To Save Plan, DEADLINE (Aug. 25, 2020).
   10
              127. Michael Estrada also informed participants in a webinar on August 19,
   11
        2020 that the plan had reserves until 2024.
   12
              128. Participants who will no longer qualify for the Union health benefit
   13
        have funded the “fund reserve” through their earnings, and employer contributions
   14
        to the health plan will continue to be made at the same rate based on all their
   15
        earnings under the operative collective bargaining agreements while they cannot
   16
        obtain the Union health benefit. The Senior Performer Coverage lifetime health
   17
        benefit for all members with 20 years of pension service (or fewer in certain
   18
        circumstances) has been eliminated and it has been taken from participants and
   19
        surviving spouses already receiving it. The participant losing SAG-AFTRA health
   20
        benefit and forced in to Medicare will pay higher premiums for secondary coverage
   21
        than the Union health benefit, and will be required to buy dental, vision and
   22
        prescription benefits.
   23
              129. The Benefit Cuts breached the trustees’ ERISA fiduciary duties by
   24
        failing to administer and operate the plan in accordance with the trust agreement
   25
        requirements to comply with applicable positive law. The Benefit Cuts illegally
   26
        discriminate on the basis of age in violation of the ADEA, 29 U.S.C. § 621 et seq.,
   27
        the UCRA, Cal. Civ. Code § 51 et seq., and the ACA, 42 U.S.C. § 18001 et seq. At
   28

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    1 least 13 participants have filed claims with the EEOC challenging the cuts. Plan

    2 outside counsel, Cohen Weiss & Simon, has been retained by the Plan to oppose and

    3 has submitted responses in opposition to the participants’ EEOC claims. Position

    4 Statement of Respondent SAG-AFTRA Health Plan, EEOC Charge No. 480-2020-

    5 04521 (Jan. 25, 2021). The Benefit Cuts have exposed the Health Plan and its assets

    6 to expense and liability.

    7        130. The Age Discrimination in Employment Act of 1967 prohibits
    8 discrimination on the basis of age against individuals 40 years of age or older.

    9 Under the ADEA, it is unlawful for a labor organization to “discriminate against any

   10 individual with respect to his compensation, terms, conditions, or privileges of

   11 employment, because of such individual’s age.” 29 U.S.C. §§ 623(a)(1), (f)(2). As

   12 discussed herein, the SAG-AFTRA Health Plan Trustees were motivated by

   13 Plaintiffs’ ages in creating Benefits Cuts designed to preclude participants 65 and

   14 older from qualifying for health coverage by the SAG-AFTRA Health Plan, in

   15 violation of ADEA § 623. Alternatively, the Benefits Cuts have a significant

   16 discriminatory impact upon plan participants 40 years of age or older in violation of

   17 ADEA § 623.

   18        131. The Unruh Civil Rights Act, Cal. Civ. Code § 51 et seq., provides that
   19 all persons are entitled to the “full and equal accommodations, advantages, facilities,

   20 privileges, or services in all business establishments of every kind whatsoever,”

   21 regardless of age. By the conduct alleged herein, each of the SAG-AFTRA Heath

   22 Plan Trustees denied, aided or incited in the denial of, discriminated or made a

   23 distinction that denied Plaintiffs and other participants full and equal advantages,

   24 privileges and services to Plaintiffs and other participants, and that participants’ ages

   25 were a substantially motivating reason informing this conduct, and such conduct by

   26 the SAG-AFTRA Health Plan Trustees constitutes a violation of the Unruh Act.

   27        132. Under Section 1557 of the Affordable Care Act, an individual shall not,
   28 on the ground prohibited under . . . the Age Discrimination Act of 1975 (42. U.S.C.

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    1 6101 et seq.) . . . be excluded from participation in, be denied the benefits of, or be

    2 subjected to discrimination under, any health program or activity. 42 U.S.C. §

    3 18116(a). See 45 C.F.R. §§ 92.1-92.3. Section 1557 expressly incorporates the

    4 enforcement provisions of the Age Discrimination Act, which provides that “no

    5 person in the United States shall, on the basis of age, be excluded from participation

    6 in, be denied the benefits of, or be subjected to discrimination under, any program or

    7 activity receiving Federal financial assistance.” 42 U.S.C. § 6102. The SAG-

    8 AFTRA Heath Plan Trustees included a “Section 1557 Non-discrimination Notice”

    9 representation in the disclosure of the Benefit Cuts to participants.

   10        133. The Benefit Cuts targeting participants age 65 and older also breached
   11 the trustees’ ERISA fiduciary duties to administer all operate the plan in accordance

   12 with the SPD, by discriminating against these participants to prevent them from

   13 obtaining the Union health benefit based on age.

   14        134. The Benefit Cuts also impose a penalty on participants age 65 and older
   15 who take a Union pension, as participant’s decision whether to take a vested pension

   16 is taxed with the loss of residuals earnings toward the Union health benefit. The

   17 imposition of this pension-based penalty in the terms of the health benefit breached

   18 the trustees’ fiduciary duties to act solely in the interests of plan participants and

   19 their beneficiaries. Whether a health plan participant is taking a Union pension from

   20 a separate Union pension plan is irrelevant to the earnings or work of the

   21 participants under the operative collective bargaining agreements.

   22        135. There is currently a significant overlap of members on the board of
   23 trustees of the SAG-AFTRA Health Plan and the boards of the SAG Pension Plan

   24 and the AFTRA Retirement Fund. Specifically, other than Defendants Kim Sykes,

   25 James Harrington, Marla Johnson, and Lara Unger, approximately 90% of the

   26 currently 38-member board of trustees for the SAG-AFTRA Health Plan also serve

   27 on the board of either the SAG Pension Plan or the AFTRA Retirement Fund. Of the

   28 current members of the SAG-AFTRA Health Plan board of trustees, the following

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    1 currently also serve on board of the SAG Pension Plan: Union Trustees - Daryl

    2 Anderson, Amy Aquino, Timothy Blake, Jim Bracchitta, John Carter Brown,

    3 Duncan Crabtree-Ireland, Leigh French, Barry Gordon, Richard Masur, John T.

    4 McGuire, Michael Pniewski, Ray Rodriguez, Ned Vaughn, David P. White;

    5 Producer Trustees - Helayne Antler, J. Gorham Keith, Robert W. Johnson, Sheldon

    6 Kasdan, Allan Liderman, Carol A. Lombardini, Stacy K. Marcus, Diane P

    7 Mirowski, Paul Muratore, Tracy Owen, Marc Sandman, David Weissman, Russell

    8 Wetanson, and Samuel P. Wolfson. Of the current members of the SAG-AFTRA

    9 Health Plan board of trustees, the following currently serve on the board of the

   10 AFTRA Retirement Fund: Union Trustees - David Hartley-Margolin, Matthew

   11 Kimbrough, Lynne Lambert, Shelby Scott, Sally Stevens, Ned Vaughn, and David

   12 P. White; Producer Trustees - Ann Calfas, J. Gorham Keith, Harry Isaacs and Marc

   13 Sandman.

   14           136. Contrary to the trustees’ claims, the COVID-19 pandemic did not
   15 urgently necessitate immediate draconian cuts in health coverage for older members.

   16 Employer contributions have not “all but dried up,” and “the Plan’s savings

   17 account,” funded in part by members losing the Union health benefit, is not gone.

   18 Far less draconian and equitable adjustments were available for a one-time event

   19 like COVID-19, such as increased diversions.

   20
          VI.     CLASS ACTION ALLEGATIONS
   21

   22        137. Pursuant to 29 U.S.C. §1132(a)(2), ERISA authorizes any participant
   23 or beneficiary of a plan to bring an action individually on behalf of the plan to

   24 enforce fiduciary liability to the plan under 29 U.S.C. §1109(a). Further, ERISA

   25 Section 1132(a)(3) authorizes any participant or beneficiary to sue as a

   26 representative of the plan to enjoin any act or practice that violates ERISA or to

   27

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    1 obtain other appropriate equitable relief to redress violations and/or enforce the

    2 provisions of ERISA. 29 U.S.C. §1132(a)(3).

    3        138. In acting in this representative capacity and to enhance the due process
    4 protections of unnamed participants and beneficiaries of the SAG Health Plan prior

    5 to the Health Plans Merger, as an alternative to direct individual actions on behalf of

    6 the plan under 29 U.S.C. § 1132(a)(2) and (3), Plaintiffs seek to certify this action as

    7 a class action on behalf of all participants and beneficiaries of the SAG Health Plan

    8 at the time of the Health Plans Merger. Plaintiffs seek to certify, and to be appointed

    9 as representatives of, the following class (the “Counts I and III Class”):

   10        139. All participants and beneficiaries of the SAG Health Plan at the
   11 effective time of the Health Plans Merger.

   12        140. Excluded from the Class are Defendants and any plan fiduciaries.
   13 Plaintiffs reserve the right to modify, change, or expand the Class definition based

   14 upon discovery and further investigation.

   15        141. This action meets the requirements of Rule 23 and is certifiable as a
   16 class action for the following reasons.

   17        142. Numerosity: The members of Counts I and III Class are so numerous
   18 that joinder of all members is impracticable. While the exact number and identities

   19 of individual members of the Counts I and III Class are unknown at this time, such

   20 information being in the sole possession of Defendants and obtainable by Plaintiffs

   21 only through the discovery process, Plaintiffs believe, and on that basis allege, that

   22 many thousands of persons comprise the Class. On the basis of Form 5500 filed

   23 with the DOL for the Plan year ending December 31, 2016, the Class includes at

   24 least 27,271 plan participants, inclusive of active participants, retired or separated

   25 participants receiving benefits, other retired or separated participants entitled to

   26 benefits, and beneficiaries of deceased participants who are receiving or are entitled

   27 to receive benefits.

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    1        143. Existence and Predominance of Common Questions of Fact and
    2 Law: Common questions of law and fact exist as to all members of the Counts I and

    3 III Class because Defendants owed fiduciary duties to the plan and to all participants

    4 and beneficiaries, and took the actions and omissions alleged herein as to the Plan

    5 and not as to any individual participant. These questions predominate over the

    6 questions affecting individual Counts I and III Class Members. These common legal

    7 and factual questions include, but are not limited to:

    8        a. who are the fiduciaries liable for the remedies provided by 29 U.S.C.
    9             § 1109(a);
   10        b. to whom are the fiduciaries liable for the remedies provided by 29 U.S.C.
   11             § 1109(a);
   12        c. whether Defendants were fiduciaries to the Plan under ERSIA in the
   13             challenged conduct;
   14        d. whether Defendants breached fiduciary duties to the Plan, participants,
   15             and beneficiaries by the challenged conduct in violation of ERISA;
   16        e. if so, the amount of damages or monetary relief that should be provided to
   17             the Plan and its participants; and
   18        f.   what equitable and other relief should be imposed in light of Defendants’
   19             breaches.
   20 Given that Defendants have engaged in a common course of conduct as to Plaintiffs

   21 and the Counts I and III Class, similar or identical injuries and violations are

   22 involved and common questions far outweigh any potential individual questions.

   23        144. Typicality: All of Plaintiffs’ claims are typical of the claims of the
   24 Counts I and III Class because Plaintiffs were participants during the Counts I and

   25 III Class Period and all plan participants were harmed by the uniform acts and

   26 conduct of Defendants discussed herein. Plaintiffs, all Counts I and III Class

   27

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    1 Members, and the plan sustained monetary and economic injuries arising out of

    2 Defendants’ breaches of their fiduciary duties to the plan.

    3        145. Adequacy: Plaintiffs are an adequate representatives for the Counts I
    4 and III Class because their interests do not conflict with the interests of the members

    5 of the Counts I and III Class they seek to represent; they were participants in the

    6 plan during the Counts I and III Class Period; and they are committed to vigorously

    7 representing the Counts I and III Class. Plaintiffs’ retained counsel, Chimicles

    8 Schwartz Kriner & Donaldson-Smith LLP, Johnson & Johnson LLP and Law

    9 Offices of Edward Siedle, are highly competent and experienced in complex class

   10 action litigation – including ERISA and other complex financial class and derivative

   11 actions – and counsel intend to prosecute this action vigorously. The interests of the

   12 Counts I and III Class will be fairly and adequately protected by Plaintiffs and their

   13 counsel.

   14        146. Superiority: A class action is the superior method for the fair and
   15 efficient adjudication of this controversy because joinder of all plan participants and

   16 beneficiaries is impracticable, the losses suffered by individual participants and

   17 beneficiaries may be small, and it would be impracticable for individual members to

   18 enforce their rights through individual actions. Even if Counts I and III Class

   19 members     could afford individual litigation, the court system could not.
   20 Individualized litigation presents a potential for inconsistent or contradictory

   21 judgments. Individualized litigation increases the delay and expense to all parties,

   22 and to the court system, presented by the complex legal and factual issues of the

   23 case. By contrast, the class action device presents far fewer management difficulties

   24 and provides the benefits of a single adjudication, an economy of scale, and

   25 comprehensive supervision by a single court. Upon information and belief, members

   26 of the Counts I and III Class can be readily identified and notified based on, inter

   27 alia, the records (including databases, e-mails, etc.) that Defendants maintain

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    1 regarding the plan. Given the nature of the allegations, no Counts I and III Class

    2 member has an interest in individually controlling the prosecution of this matter, and

    3 Plaintiffs are aware of no difficulties likely to be encountered in the management of

    4 this matter as a class action.

    5        147. Prosecution of separate actions by individual participants and
    6 beneficiaries for the breaches of fiduciary duties would create the risk of

    7 inconsistent or varying adjudications that would establish incompatible standards of

    8 conduct for Defendants regarding their fiduciary duties and personal liability to the

    9 plan under 29 U.S.C. §1109(a), and adjudications by individual participants and

   10 beneficiaries regarding the breaches of fiduciary duties and remedies for the plan

   11 would, as a practical matter, be dispositive of the interests of the participants and

   12 beneficiaries not parties to the adjudication or would substantially impair or impede

   13 those participants’ and beneficiaries’ ability to protect their interests. Therefore, this

   14 action should be certified as a class action under Fed. R. Civ. P. 23(b)(1)(A) or (B).

   15 Alternatively, then this action may be certified as a class action under Rule 23(b)(3)

   16 if it is not certified under Rule 23(b)(1)(A) and (B).

   17        148. Defendants have acted or refused to act on grounds generally
   18 applicable to Plaintiffs and the other members of the Counts I and III Class, thereby

   19 making appropriate final injunctive relief and declaratory relief, as described below,

   20 with respect to the Counts I and III Class as a whole.

   21

   22        149. Pursuant to 29 U.S.C. §1132(a)(2), ERISA authorizes any participant
   23 or beneficiary of a plan to bring an action individually on behalf of the plan to

   24 enforce fiduciary liability to the plan under 29 U.S.C. §1109(a). Further, ERISA

   25 Section 1132(a)(3) authorizes any participant or beneficiary to sue as a

   26 representative of the plan to enjoin any act or practice that violates ERISA or to

   27

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    1 obtain other appropriate equitable relief to redress violations and/or enforce the

    2 provisions of ERISA.

    3        150. In acting in this representative capacity and to enhance the due process
    4 protections of unnamed participants and beneficiaries of the SAG-AFTRA Health

    5 Plan following the Health Plans Merger, as an alternative to direct individual actions

    6 on behalf of the plan under 29 U.S.C. § 1132(a)(2) and (3), Plaintiffs seek to certify

    7 this action as a class action on behalf of all participants and beneficiaries of the

    8 SAG-AFTRA Health Plan. Plaintiffs seek to certify, and to be appointed as

    9 representatives of, the following class (the “Counts II and IV Class”):

   10        All participants and beneficiaries of the SAG-AFTRA Health Plan.
   11        151. Excluded from the Class are Defendants and any plan fiduciaries.
   12 Plaintiffs reserve the right to modify, change, or expand the Class definition based

   13 upon discovery and further investigation.

   14        152. This action meets the requirements of Rule 23 and is certifiable as a
   15 class action for the following reasons.

   16        153. Numerosity: The Counts II and IV Class are so numerous that joinder
   17 of all members is impracticable. While the exact number and identities of individual

   18 members of the Counts II and IV Class are unknown at this time, such information

   19 being in the sole possession of Defendants and obtainable by Plaintiffs only through

   20 the discovery process, Plaintiffs believe, and on that basis allege, that many

   21 thousands of persons comprise the Class. On the basis of Form 5500 filed with the

   22 DOL for the Plan year ending December 31, 2019, the Class includes at least 37,248

   23 plan participants, inclusive of active participants, retired or separated participants

   24 receiving benefits, other retired or separated participants entitled to benefits, and

   25 beneficiaries of deceased participants who are receiving or are entitled to receive

   26 benefits.

   27

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    1        154. Existence and Predominance of Common Questions of Fact and
    2 Law: Common questions of law and fact exist as to all members of the Counts II

    3 and IV Class because Defendants owed fiduciary duties to the plan and to all

    4 participants and beneficiaries, and took the actions and omissions alleged herein as

    5 to the Plan and not as to any individual participant. These questions predominate

    6 over the questions affecting individual Counts II and IV Class members. These

    7 common legal and factual questions include, but are not limited to:

    8        a. who are the fiduciaries liable for the remedies provided by 29 U.S.C. §
    9           1109(a);
   10        b. to whom are the fiduciaries liable for the remedies provided by 29 U.S.C.
   11           § 1109(a);
   12        c. whether Defendants were fiduciaries to the Plan under ERISA in the
   13           challenged conduct;
   14        d. whether Defendants breached fiduciary duties to the Plan, participants, and
   15           beneficiaries by the challenged conduct in violation of ERISA;
   16        e. if so, the amount of damages or monetary relief that should be provided to
   17           the Plan and its participants; and
   18        f. what equitable and other relief should be imposed in light of Defendants’
   19           breaches.
   20        Given that Defendants have engaged in a common course of conduct as to
   21 Plaintiffs and the Counts II and IV Class, similar or identical injuries and violations

   22 are involved and common questions far outweigh any potential individual questions.

   23        155. Typicality: All of Plaintiffs’ claims are typical of the claims of the
   24 Counts II and IV Class because Plaintiffs were participants during the Counts II and

   25 IV Class Period and all plan participants were harmed by the uniform acts and

   26 conduct of Defendants discussed herein. Plaintiffs, all Counts II and IV Class

   27

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    1 members, and the plan sustained monetary and economic injuries arising out of

    2 Defendants’ breaches of their fiduciary duties to the plan.

    3        156. Adequacy: Plaintiffs are an adequate representatives for the Counts II
    4 and IV Class because their interests do not conflict with the interests of the Counts

    5 II and IV Class that they seek to represent; they were participants in the plan during

    6 the II and IV Class Period; and they are committed to vigorously representing the

    7 Counts II and IV Class. Plaintiffs’ retained counsel, Chimicles Schwartz Kriner &

    8 Donaldson-Smith LLP, Johnson & Johnson LLP and Law Offices of Edward Siedle,

    9 are highly competent and experienced in complex class action litigation – including

   10 ERISA and other complex financial class actions – and counsel intend to prosecute

   11 this action vigorously. The interests of the Counts II and IV Class will be fairly and

   12 adequately protected by Plaintiffs and their counsel.

   13        157. Superiority: A class action is the superior method for the fair and
   14 efficient adjudication of this controversy because joinder of all plan participants and

   15 beneficiaries is impracticable, the losses suffered by individual participants and

   16 beneficiaries may be small, and it would be impracticable for individual members to

   17 enforce their rights through individual actions. Even if Counts II and IV Class

   18 Members     could afford individual litigation, the court system could not.
   19 Individualized litigation presents a potential for inconsistent or contradictory

   20 judgments. Individualized litigation increases the delay and expense to all parties,

   21 and to the court system, presented by the complex legal and factual issues of the

   22 case. By contrast, the class action device presents far fewer management difficulties

   23 and provides the benefits of a single adjudication, an economy of scale, and

   24 comprehensive supervision by a single court. Upon information and belief, members

   25 of the Counts II and IV Class can be readily identified and notified based on, inter

   26 alia, the records (including databases, e-mails, etc.) that Defendants maintain

   27 regarding the plan. Given the nature of the allegations, no Counts II and IV Class

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    1 Member has an interest in individually controlling the prosecution of this matter,

    2 and Plaintiffs are aware of no difficulties likely to be encountered in the

    3 management of this matter as a class action.

    4           158. Prosecution of separate actions by individual participants and
    5 beneficiaries for the breaches of fiduciary duties would create the risk of

    6 inconsistent or varying adjudications that would establish incompatible standards of

    7 conduct for Defendants regarding their fiduciary duties and personal liability to the

    8 plan under 29 U.S.C. §1109(a), and adjudications by individual participants and

    9 beneficiaries regarding the breaches of fiduciary duties and remedies for the plan

   10 would, as a practical matter, be dispositive of the interests of the participants and

   11 beneficiaries not parties to the adjudication or would substantially impair or impede

   12 those participants’ and beneficiaries’ ability to protect their interests. Therefore, this

   13 action should be certified as a class action under Fed. R. Civ. P. 23(b)(1)(A) or (B).

   14 Alternatively, then this action may be certified as a class action under Rule 23(b)(3)

   15 if it is not certified under Rule 23(b)(1)(A) and (B).

   16           159. Defendants have acted or refused to act on grounds generally
   17 applicable to Plaintiffs and the other members of the Counts II and IV Class, thereby

   18 making appropriate final injunctive relief and declaratory relief, as described below,

   19 with respect to the Counts II and IV Class as a whole.

   20
         VII.     CLAIMS
   21
                                              COUNT I
   22
                             Violations of ERISA § 404(a)(1)(A)-(D)
   23
          (Against the SAG Health Plan Board of Trustees and the SAG Health Plan
   24                              Trustee Defendants)
   25        160. Plaintiffs repeat and reallege each of the allegations set forth in the
   26 foregoing paragraphs as if fully set forth herein.

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    1        161. This Count is brought against the SAG Health Plan Board of Trustees
    2 and the SAG Health Plan Trustee Defendants, except Ann Calfas, Eryn Doherty,

    3 Gary Elliot, Mandy Fabian, Leigh French, Nicole Gustafson, Marla Johnson, Bob

    4 Kaliban, Shelley Landgraf, Alan H. Raphael, John E. Rhone, John H. Sucke and

    5 Kim Sykes who have been dismissed from the action without prejudice pursuant to

    6 the Tolling and Dismissal Agreement between the parties.

    7        162. As alleged herein, the SAG Health Plan Trustees functioned as ERISA
    8 fiduciaries in effecting the Health Plans Merger and the related amendments to the

    9 SAG Health Plan Trust Agreement.

   10        163. As ERISA fiduciaries, the SAG Board of Trustees and the SAG Trustee
   11 Defendants were required, pursuant to ERISA §404(a)(1), to act solely in the

   12 interest of the participants and beneficiaries of the Plan “(A) for the exclusive

   13 purpose of: (i) providing benefits to participants and their beneficiaries; and (ii)

   14 defraying reasonable expenses of administering the plan” (B) to discharge their

   15 duties “with the care, skill, prudence, and diligence under the circumstances then

   16 prevailing that a prudent man acting in a like capacity and familiar with such matters

   17 would use in the conduct of an enterprise of a like character and with like aims,” …

   18 and (C) to act in accordance with the documents and instruments governing the

   19 Plan, ERISA § 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D).

   20        164. The SAG Board of Trustees and the SAG Trustee Defendants were
   21 required to manage and administer the SAG Health Plan and its assets solely for the

   22 benefit of the participants and their beneficiaries.

   23        165. In considering, approving and implementing the Health Plans Merger
   24 and the related amendments to the SAG Health Plan Trust Agreement, the SAG

   25 Health Plan Trustees either: failed to conduct a diligent, fully informed pre-merger

   26 investigation and analysis to assess the impact of the merger on the SAG Health

   27 Plan and its participants’ future health benefits and the sustainability of the Union

   28 health benefit structure for the participants under the operative collective bargaining

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    1 agreements; or knowingly or recklessly disregarded the looming peril and

    2 unsustainability of the health benefit structure in the merged plan under the

    3 operative collective bargaining agreements.

    4        166. By the foregoing, the SAG Board of Trustees and the SAG Trustee
    5 Defendants (a) failed to act solely in the interest of the participants and beneficiaries

    6 of the Plans for the exclusive purpose of providing them benefits, in violation of

    7 ERISA § 404(a)(1)(A), 29 U.S.C. § 1104(a)(1)(A); (b) failed to act with the care,

    8 skill, prudence and diligence under the circumstances then prevailing that a prudent

    9 man acting in a like capacity and familiar with such matters would use in the

   10 conduct of an enterprise of a like character and with like aims, in violation of

   11 ERISA § 404(a)(1)(B), 29 U.S.C. § 1104(a)(1)(B); and (c) failed to act in

   12 accordance with the documents and instruments governing the Plan, ERISA §

   13 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D).

   14        167. As a result of their breaches, the SAG Health Plan Board of Trustees
   15 and the SAG Health Plan Trustee Defendants caused the SAG Health Plan and its

   16 participants to suffer losses for which they are liable.

   17                                        COUNT II
   18                        Violations of ERISA § 404(a)(1)(A)-(D)
   19      (Against The SAG-AFTRA Health Plan Board of Trustees and the SAG-
   20                    AFTRA Health Plan Trustee Defendants)

   21        168. Plaintiffs repeat and reallege each of the allegations set forth in the
   22 foregoing paragraphs as if fully set forth herein.

   23        169. This Count is brought against the SAG-AFTRA Health Plan Board of
   24 Trustees and the SAG-AFTRA Health Plan Trustee Defendants, except Ann Calfas,

   25 Eryn Doherty, Gary Elliot, Mandy Fabian, Leigh French, Nicole Gustafson, Marla

   26 Johnson, Bob Kaliban, D.W. Moffett, John H. Sucke and Kim Sykes who have been

   27 dismissed from the action without prejudice pursuant to the Tolling and Dismissal

   28 Agreement between the parties.

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    1        170. As alleged herein, the SAG-AFTRA Health Plan Trustees functioned as
    2 ERISA fiduciaries in exercising their powers and duties under the amended SAG

    3 Health Plan Trust Agreement following the Health Plans Merger, including in

    4 communication with the plan participants and their representatives, and in effecting

    5 the Benefit Cuts.

    6        171. As ERISA fiduciaries, the SAG-AFTRA Health Plan Board of Trustees
    7 and the SAG-AFTRA Health Plan Trustee Defendants were required, pursuant to

    8 ERISA § 404(a)(1), to act solely in the interest of the participants and beneficiaries

    9 of the Plan “(A) for the exclusive purpose of: (i) providing benefits to participants

   10 and their beneficiaries; and (ii) defraying reasonable expenses of administering the

   11 plan” (B) to discharge their duties “with the care, skill, prudence, and diligence

   12 under the circumstances then prevailing that a prudent man acting in a like capacity

   13 and familiar with such matters would use in the conduct of an enterprise of a like

   14 character and with like aims,” … and (C) to act in accordance with the documents

   15 and instruments governing the Plan, ERISA § 404(a)(1)(D), 29 U.S.C. §

   16 1104(a)(1)(D).

   17        172. The SAG-AFTRA Health Plan Board of Trustees and the SAG-
   18 AFTRA Health Plan Trustee Defendants were required to administer and manage

   19 the SAG-AFTRA Health Plan and its assets solely for the benefit of the participants

   20 and their beneficiaries.

   21        173. As alleged herein, the SAG-AFTRA Health Plan Board of Trustees and
   22 the SAG-AFTRA Health Plan Trustee Defendants knew but failed to disclose to the

   23 Health Plan participants and their representatives in connection with the negotiation

   24 and approvals of the collective bargaining agreements: the funding needed to sustain

   25 the Union health benefit structure for the participants, that the health benefit

   26 structure was not sustainable under the negotiated terms of the three major collective

   27 bargaining contracts negotiated and approved in the two years prior to the

   28 announcement of the Benefit Cuts, and that dramatic benefit cuts to eliminate

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    1 thousands of participants from the Union health benefit were coming without

    2 increased funding. Several of the Defendant trustees actually participated in the

    3 contract negotiations and approved the contracts as representatives of the

    4 participants. The withheld information was material and the omission was materially

    5 misleading to the participants and their representatives, under the circumstances.

    6        174. Further, the SAG-AFTRA Health Plan Board of Trustees and the SAG-
    7 AFTRA Health Plan Trustee Defendants approved and implemented the Benefit

    8 Cuts that targeted and discriminated against participants age 65 and older based on

    9 their age to prevent these participants from obtaining the Union health benefit.

   10        175. By the foregoing, the SAG-AFTRA Health Plan Board of Trustees and
   11 the SAG-AFTRA Health Plan Trustee Defendants (a) failed to act solely in the

   12 interest of the participants and beneficiaries of the Plans for the exclusive purpose of

   13 providing them benefits, in violation of ERISA § 404(a)(1)(A), 29 U.S.C. §

   14 1104(a)(1)(A); (b) failed to act with the care, skill, prudence and diligence under the

   15 circumstances then prevailing that a prudent man acting in a like capacity and

   16 familiar with such matters would use in the conduct of an enterprise of a like

   17 character and with like aims, in violation of ERISA § 404(a)(1)(B), 29 U.S.C. §

   18 1104(a)(1)(B); and (c) failed to act in accordance with the documents and

   19 instruments governing the Plan, ERISA § 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D).

   20        176. The plan documents including the Health Plan trust agreement and the
   21 Health Plan SPD required the trustees to administer and operate the plan in

   22 compliance with law and prohibit discrimination against participants in any way to

   23 prevent participants from obtaining health benefits under the plan. As alleged here,

   24 the Benefit Cuts illegally discriminate based on age in violation of positive law, and

   25 discriminate against participants based on age to prevent the participants from

   26 obtaining the Union health benefit, while the employer contributions under the

   27 collective bargaining agreement will continue to be based on all earnings of these

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    1 participants, and the Union dues of these participants will continue to be assessed

    2 based on all earnings.

    3        177. As a result of its breaches, the plan and its participants suffered losses
    4 for which the trustees are liable.

    5                                       COUNT III
    6                             Violations of ERISA § 1105(a)
    7    (Against the SAG Health Plan Board of Trustees and the SAG Health Plan
    8                             Trustee Defendants)

    9        178. Plaintiffs repeat and reallege each of the allegations set forth in the
   10 foregoing paragraphs as if fully set forth herein.

   11        179. This Count is brought against the SAG Health Plan Board of Trustees
   12 and the SAG Health Plan Trustee Defendants, except Ann Calfas, Eryn Doherty,

   13 Gary Elliot, Mandy Fabian, Leigh French, Nicole Gustafson, Marla Johnson, Bob

   14 Kaliban, Shelley Landgraf, Alan H. Raphael, John E. Rhone, John H. Sucke and

   15 Kim Sykes who have been dismissed from the action without prejudice pursuant to

   16 the Tolling and Dismissal Agreement between the parties.

   17        180. ERISA § 405(a), 29 U.S.C. § 1105(a), imposes liability on a fiduciary,
   18 in addition to any liability which the fiduciary may have had under any other

   19 provision of ERISA, if:

   20        (1) the fiduciary participates knowingly in or knowingly undertakes to
   21        conceal an act or omission of such other fiduciary knowing such act or
   22        omission is a breach;
   23        (2) the fiduciary fails to comply with ERISA § 404(a)(1) in the administration
   24        of the specific responsibilities which give rise to the status as a fiduciary, the
   25        fiduciary has enabled such other fiduciary to commit a breach; or
   26        (3) the fiduciary knows of a breach by another fiduciary and fails to make
   27        reasonable efforts to remedy it.
   28

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    1         181. Defendants, who are fiduciaries within the meaning of ERISA, and, by
    2 the nature of their fiduciary duties with respect to the Plan, knew of each breach of

    3 fiduciary duty alleged herein arising out of the Health Plans Merger, and knowingly

    4 participated in, breached their own duties enabling other breaches, and/or took no

    5 steps to remedy these and the other fiduciary breaches.

    6         182. Defendants also knew the statements made to participants by SAG
    7 Health Plan Trustee David White concerning the merger, and failed to correct the

    8 statements.

    9         183. Despite this knowledge, Defendants failed to act to remedy the several
   10 violations of ERISA, as alleged in Count I.

   11         184. As such, Defendants are liable for the breaches by the other Defendants
   12 pursuant to ERISA § 405(a)(1) and (2).

   13         185. Had Defendants discharged their fiduciary duties prudently as
   14 described above, the losses suffered by the Plan would have been minimized or

   15 avoided. Therefore, as a direct result of the breaches of fiduciary duty alleged

   16 herein, the SAG Health Plan, the Plaintiffs, and the other Counts I and III Class

   17 members have suffered losses.

   18
                                             COUNT IV
   19
                                   Violations of ERISA § 1105(a)
   20
              (Against the SAG-AFTRA Board of Trustees and the SAG-AFTRA
   21                             Trustee Defendants)
   22
              186. Plaintiffs repeat and reallege each of the allegations set forth in the
   23
        foregoing paragraphs as if fully set forth herein.
   24
              187. This Count is brought against the SAG-AFTRA Health Plan Board of
   25
        Trustees and the SAG-AFTRA Health Plan Trustee Defendants, except Ann Calfas,
   26
        Eryn Doherty, Gary Elliot, Mandy Fabian, Leigh French, Nicole Gustafson, Marla
   27
        Johnson, Bob Kaliban, D.W. Moffett, John H. Sucke and Kim Sykes who have been
   28

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    1 dismissed from the action without prejudice pursuant to the Tolling and Dismissal

    2 Agreement between the parties.

    3        188. ERISA § 405(a), 29 U.S.C. § 1105(a), imposes liability on a fiduciary,
    4 in addition to any liability which the fiduciary may have had under any other

    5 provision of ERISA, if:

    6           (1) the fiduciary participates knowingly in or knowingly undertakes to
    7
                conceal an act or omission of such other fiduciary knowing such act or
                omission is a breach;
    8
                (2) the fiduciary fails to comply with ERISA § 404(a)(1) in the
    9           administration of the specific responsibilities which give rise to the status
                as a fiduciary, the fiduciary has enabled such other fiduciary to commit a
   10
                breach; or
   11
                (3) the fiduciary knows of a breach by another fiduciary and fails to make
   12           reasonable efforts to remedy it.
   13        189. Defendants, who are fiduciaries within the meaning of ERISA, and, by
   14 the nature of their fiduciary duties with respect to the Plan, knew of each breach of

   15 fiduciary duty alleged herein arising out of the management and administration of

   16 the plan and its assets following the Health Plans Merger, including the failure to

   17 disclose material information and the approval and implementation of the Benefit

   18 Cuts and changes to base year, and knowingly participated in, breached their own

   19 duties enabling other breaches, and/or took no steps to remedy these and the other

   20 fiduciary breaches.

   21        190. Despite this knowledge, Defendants failed to act to remedy the several
   22 violations of ERISA, as alleged in Counts II and IV.

   23        191. As such, Defendants are liable for the breaches by the other Defendants
   24 pursuant to ERISA § 405(a)(1) and (2).

   25   VIII.   PRAYER FOR RELIEF
   26        192. By virtue of the violations set forth in the foregoing paragraphs,
   27 Plaintiffs and the members of the Classes are entitled to sue each of the Defendants

   28 pursuant to ERISA § 502(a)(2), 29 U.S.C. § 1132(a)(2), for relief on behalf of the

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    1 Plan as provided in ERISA § 409, 29 U.S.C. § 1109, including for (a) recovery of

    2 losses to the Plan, (b) the recovery of any profits resulting from the breaches of

    3 fiduciary duty, and (c) such other equitable or remedial relief as the Court may deem

    4 appropriate including restoration of SAG-AFTRA health coverage benefits to

    5 participants affected by the wrongful Benefit Cuts.

    6           193. By virtue of the violations set forth in the foregoing paragraphs,
    7 Plaintiffs and the members of the Classes are entitled, pursuant to ERISA

    8 §502(a)(3), 29 U.S.C. § 1132(a)(3), to sue any of the Defendants for any appropriate

    9 equitable relief to redress the wrongs described above.

   10           194. WHEREFORE, Plaintiffs, on behalf the SAG Health Plan, the SAG-
   11 AFTRA Health Plan, themselves and the Classes, pray that judgment be entered

   12 against Defendants on all claims, and request that the Court award the following

   13 relief:

   14
          A. A declaration that the Defendants breached their fiduciary duties under
   15
                ERISA;
   16
          B. An Order compelling each fiduciary found to have breached his/her/its
   17
                fiduciary duties to the plans jointly and severally to restore all losses to the
   18
                plans which resulted from the breaches of fiduciary duty or by virtue of
   19
                liability pursuant to ERISA § 405, 29 U.S.C. § 1105;
   20
          C. An Order requiring (a) the disgorgement of profits made by any Defendant,
   21
                (b) a declaration of a constructive trust over any assets received by any
   22
                breaching fiduciary in connection with their breach of fiduciary duties or
   23
                violations of ERISA, (c) an Order requiring the plans to cure illegal and
   24
                inequitable action, or (d) any other appropriate equitable or monetary relief,
   25
                whichever is in the best interest of the plans and their participants;
   26
          D. Appointing an independent fiduciary, at the expense of the breaching
   27
                fiduciaries, to administer the plans and manage the plans’ assets and/or
   28

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    1        determination of benefits and/or to correct and reverse the wrongful changes
    2        to the benefit structure alleged herein;
    3     E. Ordering the plans’ fiduciaries to provide a full accounting of all fees paid,
    4        directly or indirectly, by the plans;
    5     F. Awarding Plaintiffs and the Classes their attorneys’ fees and costs and
    6        prejudgment interest pursuant to ERISA § 502(g), 29 U.S.C. § 1132(g), the
    7        common benefit doctrine and/or the common fund doctrine;
    8     G. Awarding pre-judgment and post-judgment interest; and
    9     H. Awarding all such other remedial or equitable relief as the Court deems
   10        appropriate including an order requiring correction and reversal of the
   11        wrongful benefit changes.
   12                NOTICE PURSUANT TO ERISA SECTION 502 (h)
   13        To ensure compliance with the requirements of 29 U.S.C. § 1132(h), the
   14 undersigned affirms, that upon this filing of this First Amended Class Action

   15 Complaint, a true and correct copy of this First Amended Class Action Complaint

   16 will be served upon the Secretary of Labor and the Secretary of Treasury by

   17 certified mail, return receipt requested.

   18

   19    DATED: March 26, 2021               JOHNSON & JOHNSON LLP
   20

   21
                                             By:       /s/ Neville L. Johnson
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    1                           DEMAND FOR JURY TRIAL
    2        A jury trial is hereby demanded.
    3

    4

    5

    6    DATED: March 26, 2021             JOHNSON & JOHNSON LLP

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